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                                 December 16, 2019


               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

FAIR FIGHT ACTION, et al.,
Plaintiffs,
                                        Civil Action No.: 1:18-cv-05391-SCJ
vs.

BRAD RAFFENSPERGER, in his
official capacity as the Secretary of
State of Georgia; et al.,
Defendants.



                     Expert Report of Daniel A. Smith, Ph.D.
                              Professor and Chair
                        Department of Political Science
                             University of Florida
                               234 Anderson Hall
                           Gainesville, FL 32611-7325




________________________
Daniel A. Smith, Ph.D.
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 I.   Background and Qualifications

      1.     My name is Daniel A. Smith. I am Professor and Chair of Political

Science at the University of Florida (“UF”). I received my Ph.D. in Political

Science from the University of Wisconsin-Madison in 1994. I served as the

Director of UF’s Political Campaigning Program (2007-2011), which offers a

Master of Arts degree in political science with a special emphasis on political

campaigning and practical politics. I am also President of ElectionSmith, Inc., a

consulting firm based in Gainesville, FL, specializing in empirical research on

electoral processes in the American states.

      2.     For more than two decades, I have conducted research on electoral

politics in the American states, focusing on the effect of political institutions on

political behavior. I am widely regarded as a leading expert on voting and

elections in the American states. I have written extensively on electoral processes

in the American states, including in Georgia, publishing more than 80 articles and

book chapters, including many that have appeared in the discipline’s top peer-

reviewed journals. I have published two academic books on electoral politics in

the American states and I am the coauthor of a leading college textbook, State and

Local Politics: Institutions and Reform, which discusses voting laws in the states.

In addition, I have taught an array of undergraduate and graduate courses focusing

on American political institutions and political behavior in the American states.


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      3.     I have testified before the U.S. Senate and state legislatures on voting

and election issues. A former Senior Fulbright Scholar, I have received numerous

grants and awards for my work on campaigns and elections, including from the

U.S. Department of State and the American Political Science Association

(“APSA”), and am past-President of the State Politics and Policy Section of the

APSA. In 2010, I was the lead author of the “Direct Democracy Scholars” amicus

brief in Doe v. Reed, which was successfully argued by the Attorney General of the

state of Washington before the U.S. Supreme Court, and my scholarship has been

cited in an opinion by the U.S. Supreme Court.

      4.     I have served as an expert in election-related litigation in several

states, hired by both plaintiffs and defendants (including serving as an expert for

the State of Florida and the State of California defending their election laws). Most

recently, I provided written reports and testified at trial for the successful

defendant-intervenors in American Civil Rights Union v. Snipes (Case No. 16-cv-

61474, S.D. Fla.), where the court accepted my opinion in whole, and provided

written reports for successful plaintiffs in DNC Services Corporation, et al. v. Lee,

et al. (Case No. 4:18-cv-520-RH-MJF, N.D. Fla.)), MOVE Texas Civic Fund, et.

al. v. Whitley, et. al. (Case No. 3:19-cv-00041, S.D. Tex.), for defendants in the

settlement of Judicial Watch, Inc., Election Integrity Project California, Inc., et al.

v. Dean C. Logan, et al. (Case No. 2:17-cv-08948-R-SK, C.D. Cal.), for successful


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plaintiffs in Rivera v. Detzner (Case No. 1:18-cv-00152, N.D. Fla.), for successful

plaintiffs in the U.S. Court of Appeals for the Sixth Circuit in Ohio A. Philip

Randolph Institute, et al. v. Secretary of State, Jon Husted (Case No. 2:16-cv-

00303, S.D. Ohio) where the court accepted my opinion in whole, for successful

plaintiff-intervenors in Florida Democratic Party v. Scott (Case No. 4:16-cv-

00626, N.D. Fla.), for successful plaintiffs in Florida Democratic Party v. Detzner

(Case No. 4:16-cv-00607, N.D. Fla.), and for successful plaintiffs in League of

Women Voters of Florida v. Detzner (Case No. 4:18-cv-00251, N.D. Fla.).

      5.     My curriculum vitae (including a list of cases in which I have served

as an expert witness) is provided in Appendix A. I am being paid $400 an hour for

work in this case, plus any related expenses.

      6.     Counsel for the Plaintiffs in the above-captioned litigation retained me

to provide consultation and analysis of Georgia’s voter registration data, as well as

how Georgia handled absentee or provisional ballots across the state’s 159 counties

in the 2018 General Election.

      7.     In formulating my opinions in this report, I draw on standard sources

in political science analyses, including, but not limited to: publicly available data

produced by the Georgia Secretary of State and the State Election Board

(specifically, the statewide Voter List File dated October 15, 2018, obtained

through a public records request (herewith referred to as the “Voter File”; the


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November 6, 2018 Statewide Voter History File (herewith referred to as the “Voter

History File”)1; and the November 6, 2018 Statewide Voter Absentee File

(herewith referred to as the “Absentee File”).2 It is possible to link these fixed-

length text files in order to, as the Secretary of State notes on his webpage,

“associate a voter with his or her voter history,” as the “voter and history files both

contain the voter registration number and can be linked on this field.” The same

linking process can be done with the statewide Absentee File.


II.   Summary of Opinions Offered

      8.     It is my opinion, to a reasonable degree of professional certainty, that

there are clear administrative and record keeping problems with the Georgia’s

voter lists and voter history files. Based on my experience, these record keeping

problems provide evidence that the Secretary of State and the State Election Board

has failed to adequately oversee, train, and advise county officials on the proper

handling of voter registration applications, the recording of voter histories, and the


1
  Zip File 34147.zip (19.13 MB, Last Modified 11/22/2019), available from the
Georgia Secretary of State, Elections Division, for download at:
https://elections.sos.ga.gov/Elections/voterhistory.do (Select “2018” for Election
Year, select “Statewide” for Election Category, select “11/06/2018 – November 6.
2018 General/Special Election” for Election Name).
2
  Zip File 34147.zip (192.95 MB, Last Modified 01/03/2019), available from the
Georgia Secretary of State, Elections Division, for download at:
https://elections.sos.ga.gov/Elections/voterabsenteefile.do (Select “2018” for
Election Year, select “Statewide” for Election Category, select “11/06/2018 -0
November 6, 2018 General/Special Election” for Election Name).
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recording of absentee ballot and Provisional ballot transactions. I reach this

conclusion based on my assessment of absentee mail and Provisional ballot voting

patterns across Georgia’s 159 counties as recorded in the official data maintained

by the Georgia Secretary of State and the State Election Board.

      9.     My second opinion is that registered voters in Georgia who are black

are disproportionately more likely to cast an absentee that is rejected by local

election officials than white registered voters.

      10.    This report does not rely on anecdotal evidence. It relies solely on the

official election administration records maintained and disseminated by Georgia’s

Elections Division of the Secretary of State’s Office and the State Election Board

and my extensive experience with state elections systems. The Secretary and the

State Election Board maintain the official list of registered voters (O.C.G.A. § 21-

2-50(a)(14)). The Secretary of State and the State Election Board also provide

training to county registrars and superintendents (id. § 21-2-50(a)(11)). Included

in the State Election Board and Secretary of State’s official repository of election

administration data are the official records of individuals registered to vote in the

state, their voter histories, their method of voting, whether an absentee ballot cast

by a voter is accepted or not as valid, as well as the incidence of Provisional ballots

cast. It is upon these records that I base my empirical analysis.




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    III.         The Georgia Secretary of State’s Statewide Voter File, Voter History
                 File, and Absentee File Contain Numerous Data Problems and
                 Logical Inconsistencies that Most Likely Reflect a Substantial
                 Deficiency in the Training Given to Georgia Counties about
                 Maintaining Voter Information

           11.     According to the U.S. Election Assistance Commission, Georgia, like

37 other states, maintains a single, uniform, top-down, centralized voter list. With a

top-down system, voter list information is provided to local election officials in

real time, that is, “the state has a single platform that collects and stores all voter

registration information from jurisdictions.”3 In a well-functioning top-down

system, state election officials oversee voter list information of every legally

registered voter in the state, each of whom is assigned a unique identifier.

           12.     I started my analysis with the Secretary of State Election Division’s

October 10, 2018 voters list, what I refer to as the Statewide Voter File. In order to

make the closest apples-to-apples comparison of how individuals registered to vote

in Georgia cast ballots, and, further, whether or not those ballots were valid, I then

joined the statewide Voter History File (October 17, 2019), and a snapshot of the

statewide Absentee File (January 2, 2019) to the Statewide Voter File.




3
 Sean Greene, Director of Research at the U.S. Election Assistance Commission
(EAC), “Statewide Voter Registration Systems,” August 31, 2017, available for
download: https://www.eac.gov/statewide-voter-registration-systems/ (last
accessed December 9, 2019).
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      13.    The 2018 General Election Voter History File contains statewide

voting records of 3,950,509 individuals in the state of Georgia; these individuals,

according to the Secretary of State, all cast ballots in the 2018 General Election.

An examination of the “absentee” field in the Voter History File reveals that

1,833,052 individuals cast a ballot on Election Day (the code is “N”, as in “no, not

an absentee ballot”), and 2,117,457 cast a ballot prior to Election Day (the code is

“Y”, as in “yes, an absentee ballot”). It also includes 8,646 Provisional ballots and

430 Supplemental ballots which are cast either on Election Day or during the early

voting period prior to Election Day.

      14.    Individuals registered to vote in Georgia, but who did not cast a ballot

in the November 2018 General Election, are excluded from this file.

      15.    It is important to point out that the number of individuals who cast a

ballot according to the state’s official Voter History File—3,950,509—is close to

the Secretary of State’s Official Results of the 2018 General Election. According

to the state’s Official Results, last updated online on November 17, 2018 (4:27:59

PM EST),4 a total of 3,949,905 ballots were cast in the 2018 General Election.

Thus, the Voter History File has 604 more votes cast than what the state reported




4
 Georgia’s Official Results for the 2018 General Election are available:
https://results.enr.clarityelections.com/GA/91639/Web02-state.221451/#/ (last
updated Nov. 17, 2018).
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soon after the election, that is, there are 604 more votes cast in the Voter History

File than the total number of votes cast, as recorded across the state’s 159 counties.

      16.    Digging into the state’s election records, it becomes clear that there

are problems with the state’s official data. I began by joining records from the

statewide Voter History File with records from the statewide Absentee File using a

voter’s unique “Registration Number” available in both files.5 I immediately

began to encounter numerous data processing issues. These problems were

somewhat unexpected; for my academic research, I routinely conduct this very

type of data processing across the states. I have published more than a dozen peer-

reviewed articles over the past decade that utilize publicly available voter files. In

doing so, I have processed hundreds of millions of voter registration records across

several states. Occassionally, issues arise when processing large statewide voter

files. Rarely, though, have I encountered such serious irregularities and

inconsistencies when I process election administrative data as I have experienced

processing Georgia’s statewide files. Minor irregularities and inconsistencies,

much less the glaring ones that I have uncovered in Georgia’s statewide files, can

mean that an individual voter – or a number of voters – will not have their votes

counted and can potentially alter election results.


5
  The field name for a voter’s unique identifier in the Voter History File is
“Registration Number,” whereas the field name for a voter’s unique identifier in
the Absentee File is “Voter.Registration.”
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      17.    First, the statewide Absentee File contains 2,184,922 observations,

that is, individual records. That reflects 67,465 more records in the Absentee File

than records of absentee votes in the Voter History File. In other words, the

Absentee File contains 3% more records than are contained in the Voter History.

There is no clear explanation why a discrepancy of that size exists.

      18.    Turning first to the Absentee File, it becomes clear that there are data

input or data processing problems that can likely be chalked up to poor

administrative record keeping by local election officials, revealing problems that

likely stem from errors in how data is recorded or maintained by local elections

officials, or by different counties using different standards or processes to collect

and maintain elections data. This is likely the result of poor guidelines or training

by the Elections Division of the Secretary of State’s Office and the State Election

Board. For example, the field “ballot status” in the Absentee File contains four

codes: “A”, “C”, “R”, and “S”, which respectively stand for Accepted, Cancelled,

Rejected, and Spoiled.6 There are 2,114,409 records in the Absentee File’s ballot

status field that have a code of Accepted, 22,654 records with a code of Cancelled,

8,157 records with a code of Rejected, and 101 records with a code of Spoiled. But

there are also 39,601 records that have no code in the ballot status field.



6
  The Codes in the Absentee File are only the letters, however I use the full term in
this report when discussing these codes for ease of reference.
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       19.      Of these 39,601 records in the Absentee File with no ballot status

code—that is, there is no way in the file to determine if a ballot was Cancelled,

Rejected, Accepted, or Spoiled—36,074 (91.1%) nevertheless have a code of

“MAILED” in the “ballot style” field. The MAILED ballot style indicates that

these voters mailed their absentee ballot to a local election official. Yet the

Absentee File does not report any disposition—Cancelled, Rejected, Spoiled, or

Accepted—of these MAILED absentee ballots voters returned to their local

election officials. An additional 2,368 records in the Absentee File have a ballot

style code of “ELECTRONIC”, meaning a voter cast a ballot prior to Election Day

on an electronic voting machine in a local election office. Yet, there is no way of

knowing if these ballots were Accepted or Rejected (much less Cancelled or

Spoiled). Another 28 records in the Absentee File have a ballot style code of “IN

PERSON”, indicating that the registered voter cast an absentee ballot in person

prior to Election Day in a local election official office, but again, I have no way to

determine the disposition of those ballots. Finally, 1,131 of the 39,601 records in

the Absentee File with no ballot status code also contain no code whatsoever for

ballot style.

       20.      More troubling, from an election administration recordkeeping

perspective, if I tally the records with a code of Accepted in the Absentee File’s

ballot status field, there are 2,114,409 records. As such, the 2,114,409 records in


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the Absentee File that have a ballot status of Accepted amount to 3,048 fewer

records than the 2,117,457 records in the Secretary of State’s statewide Voter

History File’s absentee field with a record code of Y, indicating an absentee ballot

(MAILED, IN PERSON, or ELECTRONIC) was successfully cast.

      21.    To summarize, then, the state’s official Voter History File following

the 2018 General Election contains more than 3,000 absentee votes cast before

Election Day (that is, voters who have a code of Y, indicating an absentee ballot

that was cast) than are included in the state’s official absentee ballot file, which

tracks absentee application status, application date, ballot issue date, ballot status,

and status reason, among other aspects used to track an individual’s effort to vote

prior to Election Day. This appears to be a statewide election administrative

problem, and it appears likely to be the result of local officials not properly

recording who voted a valid absentee ballot in the 2018 General Election. I do not

regularly encounter this type of discrepancy with statewide election administration

data in other states in which I have conducted this type of analysis. This leads me

to question the accuracy of the official election results if we cannot account for the

type of ballot cast by individuals who voted prior to the election since they are not

in the absentee file.

      22.    Logically, all individuals listed by their voter identification number

who are in the Voter History File and who have a Y code in the absentee field


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should also appear in the Absentee File’s ballot status field with a code of

Accepted, as the code indicates that such an individual voted an accepted absentee

ballot. The ballot status code of Accepted in the Absentee File is supposed to

indicate that a voter cast an accepted ‘absentee’ ballot prior to Election Day. To

better understand the discrepancy of more than 3,000 votes between the coding in

the statewide voter history and Absentee Files, I performed a join of the Voter

History File with the statewide Absentee File to identify any patterns that emerge

that could explain the discrepancy.

      23.    I was initially unable to join the statewide voter history and Absentee

Files due to a problem with duplicate voter registrations in the Absentee File.

Before being able to join the two statewide files with a unique identifier, I had to

clean the Absentee File of duplicates. Processing the data, I discovered there were

37,913 duplicates in the Absentee File, meaning that the Absentee File includes

two or more records with the same unique voter registration number. This should

not happen. Of the 37,913 duplicated entries, some 17,202 had at least one ballot

status code of Accepted, meaning that of the duplicate entries, a voter appears to

have had at least one entry of an accepted ballot. After more data processing and

parsing to remove these duplicates from the Absentee File, I designated a single

ballot status code to each unique voter registration identifier that initially had more

than one entry in the Absentee File, using logic that privileged a ballot status code


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of an Accepted over an Rejected, Cancelled, or Spoiled, and privileging the last

contact date recorded with the registered voter. My parsing effort is conservative,

as I opted to retain a duplicative record’s ballot status code of Accepted over any

other code, which ensures that these duplicative records are counted as having an

accepted ballot. In the end, I was able to reinsert into the Absentee File 17,202

individuals with duplicative records those who had at least one ballot status code of

Accepted; all other ballot status codes for these individuals with duplicative

records were dropped. I also added back to the statewide Absentee File an

additional 336 records for individuals who did not have an Accepted ballot status

code, but who had at least one ballot status code of Rejected, indicating that the

ballot was rejected.

      24.    After this parsing, in which duplicate entries are removed, cleaned,

and reinserted as a single entry back into the Absentee File, this modified statewide

Absentee File contains 2,164,574 entries with a unique voter registration ID. This

includes 2,114,409 entries with a ballot status of Accepted, 7,338 with a ballot

status of Rejected, 5,119 with a ballot status of Cancelled, 29 with a ballot status of

Spoiled. My parsing still does not resolve the discrepancy noted above concerning

the total number of Accepted absentee ballots cast in the Absentee File and the

total number of absentee ballots cast as reported in the Voter History File. Because

of the condition of Georgia’s elections records, it is simply unknowable whether


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those more than 3,000 votes were in addition to, or less than, the votes reported as

cast.

        25.   There are additional problems with the statewide Absentee File. Most

notably, there are 37,679 individuals in the statewide Absentee File with a unique

voter registration identification, but whose record has no information in the ballot

status field. Because they are in the Absentee File, they clearly interfaced with a

local election official; many of them likely attempted to cast an absentee ballot.

Was their ballot: Accepted? Rejected? Cancelled? Spoiled? There is no

information to be had regarding the ballot status of these individuals’ ballot in the

Absentee File. I do know, however, the ballot style of these 37,679 unclassified

absentee voters: 34,773 cast a MAILED ballot, 2,276 cast an ELECTRONIC

ballot, 18 voted IN PERSON; the remaining 612 records in the Absentee File with

no ballot status code also have no ballot style whatsoever.

        26.   At this point in my examination of Georgia’s files, I had yet to merge

the Absentee File with the Voter History File, so it was not possible to determine

whether or not these individuals, all of whom according to the Absentee File cast a

ballot before the election, also had a code of Y in the absentee field in the Voter

History File. After my parsing, resulting in a cleaned, de-duplicated statewide

Absentee File, it became possible to join it to the Voter History File via the unique

voter registration number. Combining the two statewide files, and retaining the


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entries that matched by voter registration number as well as the entries found in

either the Absentee File or the Voter History File, produces a file with 3,988,807

unique observations, which I refer to as the Hybrid File.

      27.    The Hybrid File contains an exact match of 2,126,276 unique voter

registration identifiers across the two files (Voter History File and Absentee File).

These exact matches align entries found in the Voter History File’s absentee field

with a code of Y that are also found in the Absentee File. The Hybrid File also

includes 30,826 unique records that are not in the Voter History File, but do

contain additional information in the Absentee File, although they do not have a

ballot status code. Finally, there are an additional 757 records that have a Voter

History File absentee code of Y (indicating that the voter cast a valid absentee

ballot), but that have no ballot status code in the Absentee File.

      28.    Turning once again to the Georgia Secretary of State’s Official

Results (as of November 17, 2018) of 3,949,905 official votes cast, and comparing

that total to the number of records in the Hybrid File, the Hybrid File accounts for

38,902 more unique records than official votes cast. That is, there are 38,902 more

individual records after I combine the unique records that are found in the Voter

History File and that are found in the Absentee File than in the state’s official votes

cast total. This is not surprising, as not all records included in the Absentee File

are in the Voter File, and vice-versa. For example, the total number of records in


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   the Hybrid File includes 8,646 accepted Provisional ballots and 430 accepted

   Supplemental ballots that were cast in the 2018 General Election, as recorded in

   the Voter History File, that have not record in the Absentee File. The Hybrid File

   also includes 7,338 Rejected absentee ballots, 5,119 Cancelled absentee ballots,

   and 29 Spoiled absentee ballots, as recorded in the Absentee File, that are not

   recorded in the Voter History File.

                  29.   Table 1 provides a summary of the combined Hybrid File.


              Table 1: Hybrid File (Voter History File and Statewide Absentee File),
                                     2018 General Election

                                             Absentee Ballot (Voter History File)
                                                N          Y Not in File          Total
(Absentee File)




                  No Ballot Status Code     6,096        757       30,826       37,679
 Ballot Status




                  Accepted                     24 2,114,283           102 2,114,409
                  Cancelled                 4,171         39          909         5,119
                  Rejected                    684        205        6,449         7,338
                  Spoiled                      13          4           12            29
                  Not in File           1,822,064      2,169                 1,824,233
                  Total                 1,833,052 2,117,457        38,298 3,988,807


                  30.   Much is revealed in this Hybrid File with its 3,988,807 voting records,

   not all of it salubrious. First, and most glaringly, the total of 2,117,457 accepted

   absentee ballots cast with a code of Y recorded in the Voter History File, does not

   equal the total of 2,114,409 Accepted ballots recorded in the ballot status field of

   the Absentee File. That is, there are 3,048 fewer records that have an Accepted



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code in the Absentee File’s ballot status field than there are records with a Y in the

Voter History File’s absentee field (2,117,457 – 2,114,409).

        31.   Other discrepancies between the reported data in the statewide Voter

History File and statewide Absentee File are evident in Table 1. For example,

there are 102 records with an Accepted ballot status in the Absentee File’s ballot

status file that are completely missing from the Vote History’s absentee field.

Where these 102 ballots ever counted? Equally troubling are the 2,169 records in

the Voter History File with a Y code in the absentee field, indicating that these

absentee ballots were counted, that do not appear at all in the statewide Absentee

File’s ballot status field. As a result, in both senarios, it is not possible to

accurately reconcile the number of Georgia voters who successfully cast an

absentee ballot across the Secretary of State’s Absentee File and its Voter History

File.

        32.   Of the 2,117,457 unique records with a ballot coded as having been

voted prior to Election Day (that is, the Voter History File’s absentee field code is

Y), an additional 1,005 records have a code from ballot status field in the Absentee

File that is illogical (757 + 39 + 205 + 4). These 1,005 individuals evidently cast a

ballot that the Secretary of State officially recorded in the Voter History File as

being a valid absentee ballot, yet the statewide Absentee File either has no record

(757) that the registered voter cast an absentee ballot, or, even more problematic,


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that the individual has a ballot status code that is incongruous with a successful (Y)

absentee vote being cast (as recorded in the Voter History File). For instance,

there are 205 records that in the Voter History File that indicate that the

individual’s absentee ballot was successfully cast (Y), but the Absentee File’s

ballot status code indicates the ballot was Rejected. There are 39 records where

the Voter History File indicates the individual’s absentee ballot was counted, that

is, it is recorded as a Y, but the Absentee File indicates the ballot was Cancelled.

And, there are an additional 4 records where the Voter History File indicates the

individual’s absentee ballot was recorded as a Y, but the Absentee File indicates

the ballot was Spoiled.

      33.    There are more anomalies. Of the 1,833,052 unique records where a

ballot is coded as having been voted on Election Day in the Voter History File (that

is, the absentee field is N), 24 registered voters had evidently cast an Accepted

absentee ballot, 684 had evidently cast an absentee ballot that was rejected, and

another 13 had evidently cast an absentee ballot that was spoiled, at least as

recorded in the ballot status field of the Absentee File.

      34.    At this point of my analysis, in my opinion, there are serious election

administration data processing problems in Georgia, and that these problems likely

stem from the failure of the Secretary of State and the State Election Board to

adequately oversee, train, and advise county election officials on the proper


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handling, data entry, and processing of voter lists and ballots requested and cast. In

my experience studying election administration practices across the states, local

election officials follow the instructions and directives of state election officials.

When there are election administration data problems of the scale I that have

uncovered in Georgia’s 2018 General Election, it is likely not the result of bad

faith actions of local election administrators, but rather indicative of systemic

failings at the level of the Secretary of State.


   IV.         Ballot Anomalies After Joining the Statewide Voter File, the Voter
               History File, and the Absentee File

         35.     In order to conduct analysis of voting patterns in the 2018 General

Election, which I provide in Section IV, there is one more data processing step that

is required before proceeding. The final step is to join the statewide Hybrid File

(that is, the combined statewide Voter History File and statewide Absentee File)

with the statewide Voter File.

         36.     The October 15, 2018 Voter File has 6,928,150 unique voter

registration numbers. The date of this snapshot of the Voter File is important, as it

was created well after the state’s 30 day voter registration closing deadline prior to

the 2018 General Election on November 6, 2018. Thus, this statewide voter

registration list should include every voter who was eligible to cast a ballot in the

November 6, 2018 election. The statewide Voter File contains information about


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every registered voter in the state, including name, birth year, race/ethnicity,

gender, address, registration date, among other items.

      37.       Every voter in the Hybrid File should also appear in the Voter File;

the Voter File is a list of eligible voters and the hybrid file should be a list of

everyone who voted. Using the unique voter registration identifier, the voters in

these files can be linked. By joining the Voter File with the Hybrid File, it is

possible to use a unique voter registration identifier to determine the identities of

voters who have records listed in the Voter File and either the Voter History File or

the Absentee File, who are listed in the Voter File and who are in both the Voter

History File and the Absentee File, who are listed in the Voter File but in neither

the Voter History nor the Absente File, as well as those who are in either or both

the Voter History and the Absentee File, but not listed in the Voter File. Every

person in the Voter File should appear in the Hybrid File and vice versa. But this is

not the case.

      38.       Examples abound. For instance, there are 6,864 unique records in the

Hybrid File, indicating that they are from the Absentee File and have some ballot

status code (Accepted, Rejected, Cancelled, Spoiled, or missing), but who have no

race/ethnicity code in the Voter File.7 This includes 6,050 individuals who,


7
  The 6,050 unique records that are in the Hybrid File, that is, they have a record in
the Absentee File that have a ballot status code but no race code, are not found in

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according to the Absentee File, cast an accepted absentee ballot, yet they are not

found in the October 15, 2018 statewide voter file.

      39.    Similarly, there are 6,864 individuals in the Hybrid File who are from

the Absentee File and have a ballot style code (ELECTRONIC, IN PERSON,

MAILED, or missing) who have no race/ethnicity code, indicating that they are not

in the October 15, 2018 statewide Voter File. Of these individuals, 5,724 voted in

person before the election, 1,078 mailed in their absentee ballot, and 57 voted an

electronic ballot in person. But there is no record of the identities of any of these

individuals because they cannot be found in the state’s official statewide voter list

less than three weeks prior to Election Day.

      40.    Furthermore, there are 17,994 individuals in the statewide Voter

History File who cast either an Election Day ballot (11,198 who are coded as N in

the absentee field) or an absentee ballot (6,796 who are coded as Y in the absentee

field) who do not have a race/ethnicity code. This indicates that these individuals,

who cast valid ballots according to the Voter History File, are not included in the

October 15, 2018 Voter File. These 17,994 valid votes, that were cast by

individuals who were not registered according to the October 15, 2018 statewide




the Voter File. That is, they are not included in the 680,119 records found in the
Voter File that have a code of “Unknown” in the RACE_DESC field.
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Voter File, account for 0.46% of the 3,950,509 total votes cast in the Voter History

File.

        41.   By combining the Voter File with the Hybrid File, I can use the

information to determine the identities of the 1,894,598 individuals who voted an

early in-person absentee ballot in the 2018 election. Or at least I should be able to,

but alas, there are 5,733 individuals who are recorded as having cast an absentee

ballot (Y) in the Voter History File who are also recorded as having cast an early

in-person ballot (as recorded with a code of IN PERSON in the ballot style field in

the Absentee File), but who are not listed in the pre-election statewide Voter File.

        42.   By combining the Voter File with the Hybrid File, I can also use the

information to determine the vote history status and identities of the 226,805

unique individuals who voted an absentee “MAILED” ballot in the 2018 election

with a ballot status code of either A (accepted) or R (rejected). Of these 226,805

records, 6,194 (2.7%) do not appear as having voted in the statewide Voter History

File. Of course they did cast a ballot in the election; it’s just that their absentee

mail ballot was rejected, or at least most of them were rejected. In fact, there are 2

voters with an Absentee File ballot status code of Accepted, who nevertheless, do

not appear in the statewide Voter File as having voted. There are the 882

individuals in the Absentee File with a ballot status code of Rejected who are

coded as having voted in 2018 General Election.


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         43.     It is also possible to assess the status of valid Provisional ballots cast

in the 2018 General Election. According to the Voter History File’s “provisional”

field, 8,646 valid Provisional ballots were recorded in the election. Most of these

Provisional ballots, some 8,522, were cast on Election Day; the remaining 124

were in the form of an absentee ballot, according to the Voter History File’s

absentee field code of Y. In my opinion, having examined extensively, and having

published peer-reviewed articles on provisional ballots in Florida and North

Carolina, there is ample evidence that that Georgia Secretary of State and the State

Election Board need to take additional steps to ensure that local officials have

better election administration record keeping of Provisional ballots, including

detailed records of why the more than 22,000 Provisional ballots that were cast in

the election were accepted or rejected.


    V.         Racial/Ethnic Breakdown of Rejected Absentee (Vote by Mail)
               Ballots in the 2018 General Election

         44.     The final section of my report assesses the incidence, and racial/ethnic

patterns, of the 226,805 MAILED absentee ballots that were either accepted

(219,731) or rejected (7,074) by local election officials. More specifically, by

joining the Voter File with the Hybrid (Voter History File and Absentee File), it is

possible to assess the rejection rates of absentee MAILED ballots cast by black

voters and white voters.


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                   45.    Of the 226,805 records in the Absentee File with a MAILED code in

        the ballot style field and that were recorded as either accepted or rejected in the

        ballot status field, 85.5% were cast by white and black voters in the 2018 General

        Election. The remaining 14.5% were cast by voters with other racial or ethnic

        identities. White voters cast 108,981 absentee MAILED absentee ballots; 2,468 of

        these ballots cast, or 2.3%, were rejected by local election officials. Black voters

        cast 84,968 MAILED absentee ballots; 3,162 of these ballots cast, or 3.7%, were

        rejected by local election officials. The MAILED absentee ballot rejection rate of

        black voters is nearly 65% higher than the MAILED absentee ballot rejection for

        white voters in the 2018 General Election.

                   46.    Table 2 provides more details regarding the racial/ethnic breakdown

        of the accepted and rejected MAILED absentee ballots cast in the 2018 General

        Election.

                                    Table 2: MAILED (Ballot Style)
                              Absentee Ballot Accepted and Rejected Rates,
                                by Race/Ethnicity, 2018 General Election

                                         Race/Ethnicity (Voter File)
                                White      Black Hispanic Asian Other       N/A   Total
(Absentee File)
 Ballot Status




                  Accepted     106,513    81,806     5,777     7,971 17,348 316 219,731
                               97.74%    96.28% 95.79% 94.25% 96.37% 86.34%
                  Rejected       2,468     3,162       254       486    654  50   7,074
                                2.26%     3.72%     4.21% 5.75% 3.63% 13.66%
                  Total        108,981    84,968     6,031     8,457 18,002 366 226,805
                               48.05%    37.46%     2.66% 3.73% 7.94% 0.16%

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      47.    Figure 1 and Figure 2 provide a way to visualize the considerable

variation in rejected MAILED absentee ballots cast by black and white voters

across Georgia’s 159 counties in the 2018 General Election, as well as racial

disparities in the rejection rates of MAILED absentee ballots.8 Each circle (or dot)

in Figure 1 represents a Georgia county, and the size of the circle is proportional to

the total number of MAILED absentee ballots that were cast in each county.9 The

X-axis (horizontal) in Figure 1, labeled “%MAILED Absentee Ballots Cast by

Blacks,” is the percentage (from 0% to 100%) of all (valid and rejected) MAILED

absentee ballots cast in a county by black voters. The Y-axis (vertical) in Figure 1,

labeled “% Rejected MAILED Absentee Ballots Cast by Blacks,” is the percentage

(from 0% to 20%) of MAILED absentee ballots cast by black voters that were

rejected in a county. The weighted (by the number of MAILED absentee ballots)

red regression line in Figure 1 shows the positive relationship between the

percentage of MAILED absentee ballots cast in a county by black voters and the

rejection rate of MAILED absentee ballots cast by black voters in a county.




8
  Counties with no rejected MAILED absentee ballots cast by either black or white
voters are dropped from Figure 1 and Figure 2, respectively. Some small counties,
because they have too few MAILED absentee ballots, cannot be seen on the graph.
9
  For reference purposes, the figure labels counties with the greatest number of
MAILED absentee ballot as well as some with rejection rates that are outliers.
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            Figure 1: Percentage of MAILED and Rejected Absentee Ballots
                           Cast by Black Voters, by County




      48.    In addition, it is clear from Figure 1 that although black voters made

up roughly 40% of all MAILED absentee ballots cast in Gwinnett County, nearly

8% of MAILED absentee ballots cast by black voters were rejected. Other

counties, including Glynn, Atkinson, Candler, Putnam, Polk, and Pickens counties,

where less than half of all MAILED absentee ballots were cast by black voters,

between 9% and 17% of MAILED absentee ballots cast by black voters were

rejected.

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      49.    Figure 2 replicates this visual analysis for the percentage of all

MAILED absentee ballots cast by white voters in a county, and the respective

rejection rate of MAILED absentee ballots cast by white voters. The weighted red

regression line in Figure 2 has a negative slope, indicating that as the percentage of

all MAILED absentee ballots cast by white voters in a county increases, the

rejection rate of MAILED absentee ballots cast by white voters decreases. There

are some outlier counties, where the rejection rate of MAILED absentee ballots

cast by white voters—even in counties where the preponderance of MAILED

absentee ballots were cast by white voters—indicating that in a handful of counties

(e.g., Pickens and Towns counties), white voters who cast MAILED absentee

ballots had a high rate of their MAILED absentee ballots rejected, though it is a

fraction of the rejection rate of MAILED absentee ballots cast by black voters.




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                 Figure 2: Percentage of MAILED and Rejected Absentee Ballots
                                Cast by White Voters, by County




V.      Conclusion

           50.    In conclusion, my analysis uncovers serious election administration

     record keeping problems with Georgia’s voter lists and individual voting records,

     as well as disparate effects on registered voters in Georgia who are black,

     particularly when it comes to MAILED absentee ballots. It should be clear from

     my analysis that there is ample evidence that the Secretary of State and the State

     Election Board has not adequately overseen, trained, or advised county officials on

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the proper handling of voter registration applications, the recording of voter

histories, and the recording of absentee ballot (particularly MAILED absentee

ballot) and Provisional ballot transactions. It should also be clear from my analysis

that black registered voters in the state of Georgia are more negatively affected

than white registered voters in the state.

      51.    Compared with the election administration data and voting records

that I have examined at length in my scholarly work, in my opinion, the

maintenance and processing of Georgia’s voter list and its recording of voter

histories, particularly MAILED absentee ballots, falls far short of the efforts of

other state election officials, including those in Florida and North Carolina.

      52.    I would like to reserve the right to continue to supplement my

declarations in light of additional facts, data, and testimony.

      53.    I declare under penalty of perjury that the foregoing is true and

correct. Executed this 13th day of December, 2019, at Alachua County, Florida.




                                        Daniel A. Smith, Ph.D.




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                    APPENDIX A
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23 November 2019
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                      Affiliate Professor, Center for African Studies, 2010-
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           Associate Professor (with tenure), Department of Political Science, 2000-2003
           Assistant Professor, Department of Political Science, 1994-2000
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Research Associate, Ghana Center for Democratic Development (CDD-Ghana), Accra, Ghana, Fall 2011
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          Direct Democracy (Ballot Initiatives and Referendums)
American Institutions (Political Parties and Interest Groups)
Politics of Ghana (Voting and Elections)
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Direct Democracy (Grad & Undergrad)                                    Politics of Campaign Finance (Grad & Undergrad)
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1) Daniel A. Smith. 1993: “Removing the Pluralist Blinders: Labor-Management Councils and Industrial Policy in the
         American States,” Economic Development Quarterly 7 (4): 373-89.

UNDER REVIEW (current PhD students bold; former PhD students italics; current undergrad students italics)
1)   Michael Martinez, Michael P. McDonald, Enrijeta Shino, and Daniel A. Smith. “Verifying Voter Registration
     Records.” Revised and Resubmitted.
2)   Enrijeta Shino and Daniel A. Smith, “Mobilizing the Youth Vote? Early Voting on College Campuses.” Revising and
     Resubmitting.
3)   Charles Bullock, William D. Hicks, M.V. Hood, Seth C. McKee, Adam S. Meyers, Daniel A. Smith, “The Election
     of African American State Legislators in the Modern South.” Revising and Resubmitting.
4)   William D. Hicks, Seth C. McKee, and Daniel A. Smith, “Contemporary Views of Liberal Democracy and the 2016
     Presidential Election.” Submitted.
5)   Enrijeta Shino and Daniel A. Smith, “Political Knowledge of Early Voters.” Submitted.
6)   Daniel A. Smith, Enrijeta Shino, Anna Baringer, Thomas J. Eichermuller, William Zelin. “Election
     Administration and Public Records Responsiveness.” Submitted.

BOOK CHAPTERS (current PhD students bold; former PhD students italics; current undergrad students italics)
28) Thessalia Merivaki and Daniel A. Smith. 2019. “Challenges in Voter Registration,” in The Future of Election
         Administration, Mitchell Brown, Kathleen Hale, and Bridgett A. King, eds. New York: Palgrave/Macmillan.
27) Seth C. McKee and Daniel A. Smith. 2019. “Trump Territory,” in Florida and the 2016 Election of Donald J. Trump,
         Matthew Corrigan and Michael Binder, eds. Gainesville: University of Florida Press (49-75).
26) Daniel A. Smith, Brian Amos, Daniel Maxwell, and Tyler Richards. 2019. “Rigged? Assessing Election
         Administration in Florida's 2016 General Election,” in Florida and the 2016 Election of Donald J. Trump, Matthew
         Corrigan and Michael Binder, eds. Gainesville: University of Florida Press (pp. 154-74).
25) Daniel A. Smith, Dillon Boatner, Caitlin Ostroff, Pedro Otálora, and Laura Uribe, “Early Bird Special:
         Convenience Voting in Florida’s 2016 General Election,” in Florida and the 2016 Election of Donald J. Trump,
         Matthew Corrigan and Michael Binder, eds. Gainesville: University of Florida Press (pp.134-53).
24) Michael C. Herron, Daniel A. Smith, Wendy Serra, and Joseph Bafumi. 2017. “Wait Times and Voter Confidence:
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         (pp. 107-122).
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21) Daniel A. Smith. 2014. “Direct Democracy,” in The Encyclopedia of Political Thought, Michael T. Gibbons, ed. Oxford:
         Wiley-Blackwell.
20) William Hicks and Daniel A. Smith. 2013. “State Campaigns and Elections,” in The Oxford Handbook of State and
         Local Government, Donald Haider-Markel, ed. New York: Oxford University Press.
19) Daniel A. Smith. 2012. “Direct Democracy: Regulating the ‘Will of the People,’” in Matthew J. Streb, ed., Law and
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18) Daniel A. Smith. 2011. “Direct Democracy in Colorado: A Historical Perspective,” in Courtenay Daum, Robert
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         Colorado Press.
17) Daniel A. Smith. 2010. “Direct Democracy and Candidate Elections,” in Stephen C. Craig and David Hill, The
          Electoral Challenge: Theory Meets Practice, 2nd edition. Washington, DC: CQ Press.
16) Daniel A. Smith. 2010. “Financing Ballot Measures in the U.S.,” in Karin Gilland-Lutz and Simon Hug, eds.,
          Financing Referendum Campaigns. New York: Palgrave.
15) Daniel A. Smith. 2008. “Direct Democracy and Campaigns,” in Shaun Bowler and Amihai Glazer, eds., Direct
          Democracy’s Impact on American Political Institutions. New York: Palgrave.
14) Todd Donovan and Daniel A. Smith. 2008. “Identifying and Preventing Signature Fraud on Ballot Measure
          Petitions,” in Michael Alvarez, Thad E. Hall, and Susan D. Hyde, eds., Election Fraud: Detecting and Deterring
          Electoral Manipulation. Washington, DC: Brookings.
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13) Daniel A. Smith. 2008. “Direct Democracy and Election and Ethics Laws,” in Bruce Cain, Todd Donovan, and Caroline
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12) Daniel A. Smith. 2007. “Ballot Initiatives,” in Gary Anderson and Kathryn Herr, eds., Encyclopedia of Activism and
         Social Justice. Thousand Oaks, CA: Sage Publications, Inc.
11) Raymond J. La Raja, Susan E. Orr, and Daniel A. Smith. 2006. “Surviving BCRA: State Party Finance in 2004,” in
         John Green and Daniel Coffey, eds., The State of the Parties (5th edition). Lanham, MD: Rowman and Littlefield.
10) Daniel A. Smith. 2006. “Initiatives and Referendums: The Effects of Direct Democracy on Candidate Elections,” in
         Steven Craig, ed., The Electoral Challenge: Theory Meets Practice. Washington, D.C.: CQ Press.
9) Daniel A. Smith (with Sure Log). 2005. “Orange Crush: Mobilization of Bias, Ballot Initiatives, and the Politics of
         Professional Sports Stadia,” in David McCuan and Stephen Stambough, eds., Initiative-Centered Politics. Durham,
         NC: Carolina Academic Press.
8) Daniel A. Smith. 2005. “The Initiative to Party: The Role of Parties in State Ballot Initiatives,” in David McCuan and
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7) Daniel A. Smith. 2004. “Strings Attached: Outside Money in Colorado’s Seventh Congressional District,” in David
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6) Daniel A. Smith. 2002. “Direct Democracy and Its Critics,” in Peter Woolley and Albert Papa, eds., American Politics:
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4) Daniel A. Smith. 2001. “Special Interests and Direct Democracy: An Historical Glance,” in M. Dane Waters, ed., The
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3) Daniel A. Smith and Jonathan Temin. 2001. “The Media and Ghana’s 2000 Elections,” in Joseph Ayee, ed., Deepening
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2) Daniel A. Smith. 2001. “The Politics of Upper East and the 2000 Ghanaian Elections,” in Joseph Ayee, ed., Deepening
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1) Daniel A. Smith. 1998. “Unmasking the Tax Crusaders,” in Bruce Stinebrickner, ed., Annual Editions: State & Local
         Government. 9th ed. Guilford, CT: Dushkin/McGraw-Hill, 83-85 [Reprinted].

RESEARCH GRANTS, CONTRACTS, HONORS, AND AWARDS
38) University Scholars Program Grant (advising Emily Boykin and Jenna Tingum), University of Florida, “Spanish
          Language Materials, Administrative Compliance, and Hispanic Voting in Florida.” Fall 2019/Spring 2020.
37) CLAS Scholars Program Grant (advising William Zelin), University of Florida, “The Effect of Natural Disasters on
          Voter Turnout.” Fall 2019/Spring 2020.
36) Gill Foundation Grant, “LGBT Issues in Florida,” Spring 2018 (Co-PI, Michael Martinez).
35) University of Florida Term Professorship, 2017-2019.
34) University Scholars Program Grant (advising Pedro Otálora), University of Florida, “Political Participation of
          Native-Born and Naturalized Citizens in Miami-Dade.” Summer/Fall 2017.
33) Ruben Askew Scholar Award (advising Wendy Serra), Bob Graham Center, University of Florida, Summer 2016.
32) Emerging Scholars Program (advising Anthony Rychkov), University of Florida, “The Timing of Voter Registration
          and Turnout,” Spring/Summer 2016.
31) University Scholars Program Grant (advising Casey Ste. Claire), University of Florida, College of Liberal Arts &
          Sciences, “Reprecincting and Voter Turnout,” Fall 2015/Spring 2016.
30) University Scholars Program Grant (with Frances Chapman), University of Florida, College of Liberal Arts &
          Sciences, “Truing or Suppressing the Vote? Private Voter Challenges in Florida,” Fall 2013/Spring 2014.
29) Best Paper Award presented in 2012 by the APSA Organized Section on State Politics and Policy: “Souls to the
          Polls: Early Voting in Florida in the Shadow of House Bill 1355,” 2013 (with Michael Herron).
28) University Scholars Program Grant (with Bryce Freeman), University of Florida, College of Liberal Arts & Sciences,
          “Impact of Voter Suppression on Political Participation,” Spring 2013.
27) The William and Flora Hewlett Foundation, “Popular Support and Conditions for the Passage of Ballot Measures,”
          June 2013.
26) Advancement Project, “Congestion at the Polls: A Study of Florida Precincts in the 2012 General Election,” June
          2013 (with Michael Herron).
25) Co-Principal Investigator, “Trans-Saharan Professionals Program,” United States Department of State, Bureau of
          Educational and Cultural Affairs, S-ECAPPE-10-GR-231 (DT), September 2010-August 2012.
24) University of Florida Research Foundation (UFRF) Professor, 2010-2012 (annual salary supplement and research
          funding).
23) Co-Principal Investigator, American Political Science Association Workshop on Elections and Democracy, University of
          Ghana at Legon, Ghana, Summer 2009, funded by Mellon Foundation.
22) Best Paper Award presented in 2006 by the APSA Organized Section on State Politics and Policy: “Do State-Level
          Ballot Measures Affect Presidential Elections?” (with Caroline Tolbert and Todd Donovan).
21) Research Grant, “Did Gay Marriage Re-Elect George W. Bush?” University of Florida, College of Liberal Arts &
          Sciences, Summer 2005.
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20) University Scholars Program Grant (with Kirsten Soltis), University of Florida, College of Liberal Arts & Sciences,
         “Money and the Member: An Analysis of Fundraising in Congressional Politics in the Post-Campaign Finance
         Reform Era,” Fall 2005.
19) Research Grant, “Mobilization Effects of Ballot Measures in Colorado, Florida, Ohio, and Nevada,” Ballot Initiative
         Strategy Center, Fall 2004.
18) Research Grant, “Mobilization Effects of Gay Marriage Ban in Ohio,” Ballot Initiative Strategy Center, Fall 2004.
17) Research and Travel Grant, Pew Charitable Trusts, “Veiled Political Actors,” Daniel Lowenstein, Kim Alexander,
         Robert Stern, Tracy Western, and Joseph Doherty, Principle Investigators, Fall 2003.
16) Travel Grant, College of Liberal Arts and Sciences, University of Florida, “Initiative and Referendum Campaigns,” Fall
         2003.
15) Research Grant, Pew Charitable Trusts, “Outside Money: Colorado’s 7th Congressional District,” David Magleby,
         Principal Investigator, Fall 2002.
14) Faculty Research Fund, “Ballot Initiatives during the Progressive Era,” University of Denver, Fall 2002.
13) Research Grant, American Political Science Association, “Ballot Initiatives during the Progressive Era: Evidence from
         California, 1912-1920,” Summer 2002.
12) Research Grant, Colorado Endowment for the Humanities, “The ‘Golden Era’ of Direct Democracy? Colorado’s Election
         of 1912,” (R017-0300-010) (with Joseph Lubinski), Spring 2000.
11) Partners in Scholarship: 2000 Winter Quarter Project Proposal, “The ‘Golden Era’ of Direct Democracy? Evidence
         from the Colorado Election of 1912,” University of Denver, with Joseph Lubinski).
10) Rosenberry Fund, “Direct Democracy in Colorado,” University of Denver, Spring 1999.
9) Best Paper, Charles Redd Politics of the American West, “Howard Jarvis, Populist Entrepreneur: Reevaluating Causes
         of Proposition 13,” Western Political Science Association, Los Angeles, March 20, 1998.
8) Faculty Research Fund, “Ballot Warriors: Citizen Initiatives in the 1990s,” University of Denver, Fall 1997.
7) Partners in Scholarship: 1997 Winter Quarter Project Proposal, “The Process of Direct Democracy: Parental Rights
         Amendment,” University of Denver, with Robert Herrington, Winter 1997.
6) Faculty Research Fund, “Faux Populism: Populist Entrepreneurs and Populist Moments,” University of Denver, Fall
         1996.
5) International Small Grants, “Election Monitor: Ghana Presidential and Parliamentary 1996 Elections,” Office of
         Internationalization, University of Denver, Fall 1996.
4) Faculty Research Fund, “Populist Prophets and the Mass Appeal of Direct Democracy,” Program Support Services,
         University of Denver, Spring 1995.
3) Research Grant, Institute for Public Affairs, West Virginia University, Summer 1994.
2) Senate Research Travel Grant, Faculty Development Fund, West Virginia University, Fall 1994.
1) Research Travel Grant, Robert LaFollette Institute of Public Affairs, University of Wisconsin-Madison, Fall 1992.

TECHNICAL REPORTS & OTHER SCHOLARLY PUBLICATIONS
27) Daniel A. Smith, “Audit of Assignment of Registered Voters to New, Court-Ordered House of Delegates Districts,”
            Virginia Secretary of State (with Michael P. McDonald), Spring 2019.
26) Daniel A. Smith, “Vote-by-Mail Ballots Cast in Florida,” A Report Commissioned by ACLU Florida, August 2018.
25) Michael C. Herron and Daniel A. Smith, “Congestion at the Polls: A Study of Florida Precincts in the 2012 General
            Election,” A Report Commissioned by Advancement Project, Washington, DC, June 24, 2013. Available:
            http://www.advancementproject.org/news/entry/voters-of-color-faced-longest-wait-times-in-florida.
24) Michael C. Herron and Daniel A. Smith, “Florida’s 2012 General Election under HB 1355: Early Voting,
            Provisional Ballots, and Absentee Ballots,” League of Women Voters Florida, January 2013.
23) Daniel A. Smith, “The Re-demarcation and Reapportionment of Parliamentary Constituencies in Ghana,” Ghana
            Center for Democratic Development (CDD-GHANA), Vol. 10 (2): October, 2011. Available:
            http://www.cddghana.org/documents/Vol.%2010,%20No.%202.pdf
22) Daniel A. Smith. 2010. “Educative Effects of Direct Democracy: Evidence from the US States,” Memorandum
         requested by the British House of Lords, Constitution Committee, January 4. Available:
         http://www.publications.parliament.uk/pa/ld200910/ldselect/ldconst/99/99we14.htm.
21) Daniel A. Smith. 2006. “Money Talks: Ballot Initiative Spending in 2004.” Ballot Initiative Strategy Center, June.
         Available: http://ballot.org.
20) Daniel A. Smith. 2006. “Ballot Initiatives, Tax Issues,” in Larry Sabato and Howard Ernst, eds., Encyclopedia of
         American Political Parties and Elections. New York: Facts on File.
19) Daniel A. Smith. 2004. “Direct Democracy,” in David Wishart, ed., Encyclopedia of the Great Plains. Lincoln: University
         of Nebraska Press.
18) Daniel A. Smith and Caroline J. Tolbert. 2003 “Educated by Initiative,” Campaigns and Elections, August, p. 31.
17) Elizabeth Garrett, and Daniel A. Smith. 2003. “Veiled Political Actors: The Real Threat to Campaign Disclosure
         Statutes” (July 22). USC Law and Public Policy Research Paper No. 03-13 http://ssrn.com/abstract=424603.
16) Daniel A. Smith. 2003. “Ballot Initiatives and the (Sub)Urban/Rural Divide in Colorado,” in Daphne T. Greenwood,
         ed., Colorado’s Future: Meeting the Needs of a Changing State. Colorado Springs: Center for Colorado Policy Studies.
15) Daniel A. Smith. 2003. “The Colorado 7th Congressional District,” in David B. Magleby and Quin Monson, eds., The
         Last Hurrah? Provo, UT: Center for the Study of Elections and Democracy.
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14) Stan Elofson, Daniel A. Smith, Jennifer Berg, and Joseph Lubinski. 2002. “A Listing of Statewide Initiated and
         Referred Ballot Proposals in Colorado, 1912-2001.” Issue Brief No. 02-02. (March 5) Colorado Legislative Council,
         Colorado General Assembly, Denver. [Revised Edition].
13) Daniel A. Smith. 2001. “Howard Jarvis’ Legacy? An Assessment of Antitax Initiatives in the American States.” State
         Tax Notes 22: 10 (December): 753-764.
12) Daniel A. Smith. 2001. “The Structural Underpinnings of Ghana’s December 2000 Elections.” Critical Perspectives,
         No. 6. Ghana Center for Democratic Development (CDD-Ghana), Accra, Ghana.
11) Daniel A. Smith, Jonathan Temin, and Kwaku Nuamah. 2001. “Media Coverage of the 2000 Election: A Report on
         the Media Coverage of Election 2000 (May 2000-Janurary 2001).” Research Paper, No. 8. Ghana Center for
         Democratic Development (CDD-Ghana), Accra, Ghana.
10) Daniel A. Smith. 2000. “Election 2000: Debating the Issues?” Briefing Paper, Volume 2, Number 4, Ghana Center for
         Democratic Development (CDD-Ghana), Accra, Ghana.
9) Daniel A. Smith. 2000. “Growth and Transportation Ballot Measures in Colorado,” in Floyd Ciruli, ed., Moving Visions:
         Next Steps Toward Growing Smart. Denver: Gates Family Foundation.
8) Stan Elofson, Daniel A. Smith, Jennifer Berg, and Joseph Lubinski. 2000. “A Listing of Statewide Initiated and
         Referred Ballot Proposals in Colorado, 1912-2000.” Issue Brief No. 8. (December) Colorado Legislative Council,
         Colorado General Assembly, Denver. [updated 2002, 2004, 2006, 2008]
7) Daniel A. Smith. 2000. “Progressives and the Initiative Process: A Call to Arms.” Ballot Initiative Strategy Center (BISC).
6) Daniel A. Smith and Joseph Lubinski. 2000. “Sponsoring ‘Counter-Majoritarian’ Bills in Colorado.” Ag Journal.
         (September): 12-13.
5) Daniel A. Smith. 1998. “Unmasking the Tax Crusaders.” State Government News. 41:2 (March): 18-21.
4) Daniel A. Smith. 1997. “Howard Jarvis, Populist Entrepreneur,” Working Paper, 97-8, Institute of Governmental
         Studies, University of California - Berkeley.
3) Daniel A. Smith. 1995. “The West Virginia Labor-Management Advisory Council,” The West Virginia Public Affairs
         Reporter. 12:4 (Winter): 1-11.
2) Daniel A. Smith. 1992. “A Tale of Five Cities,” The La Follette Policy Report. 5 (Fall): 18-21.
1) Daniel A. Smith. 1991. “Emerging Skill Needs in the Wisconsin Non-Automotive Engines Industry,” Commissioned
         by the Wisconsin Board of Vocational, Technical, and Adult Education, Working Paper, Center on Wisconsin
         Strategy, University of Wisconsin-Madison.

OUTSIDE ACTIVITIES: BOARDS/EXPERT WITNESS/POLITIAL CONSULTANT/INVITED
      TESTIMONY/MISCELANEOUS
President, ElectionSmith www.electionsmith.com (S-Corp) 2006-
Board Member, Ballot Initiative Strategy Center (BISC) www.ballot.org 1999-
Board Member, Common Cause Florida https://www.commoncause.org/florida/ 2014-
Board President, 300 Club https://300clubswimandtennis.com/ 2018-

Domestic Consulting
Expert (written declarations), Gruver, et al. v. Barton, et al. Case 1:19-cv-00121-MW-GRJ (US District Court for the
         Northern District of Florida). [Provided written reports and deposed for plaintiffs analyzing records on the
         impact of SB7066 on Florida residents with felony convictions and outstanding LFOs], 2019-.
Consultant, Andrew Goodman Foundation [Analysis of on-campus early voting in Florida], 2019.
Consultant, ACLU-Florida [Data analysis of Ex-Felons in Florida], 2019-.
Expert (written declaration), DNC Services Corporation et al. v. Lee et al. Case 4:18-cv-00524-MW-CAS (US District Court
         for the Northern District of Florida) [Provided written report for plaintiffs on Vote by Mail ballots in Florida],
         2019-.
Expert (written declaration), MOVE Texas Civic Fund, et. al. v. Whitley, et. al. Case 3:19-cv-00041 (US District Court for
         the Southern District of Texas) [Provided written reports for plaintiffs on number of naturalized citizens in
         Texas], 2019.
Expert, Fair Fight Action v. Crittenden, Case No. 1:18-cv-05391 (US District Court for the Northern District of Georgia)
         [Retained by plaintiffs to analyze data related to Georgia’s election laws], 2018-.
Expert, The Democratic Party of Georgia v. Crittenden, Case No. 1:18-cv-05443 (US District Court for the Northern District
         of Georgia) [Retained by plaintiffs to analyze data related to the 2018 gubernatorial election], 2018.
Consultant, ACLU-Florida [Provided analysis of Vote by Mail ballots in Florida], 2018.
Expert, Judicial Watch, Inc., Election Integrity Project California, Inc., et al. v. Dean C. Logan, et al. Case No. 2:17-cv-08948-R-SK
         (US District Court for the Central District of California, Western Division). [Retained by defendants (California
         Department of Justice) to analyze data concerning inactive voters], 2018.
Expert (written declaration), Rivera v. Detzner, Case 1:18-cv-61474 (US District Court for the Norther District of Florida)
         [Provided written report for plaintiffs on Puerto Rican population and registered voters in Florida], 2018.
Expert, Thompson et al. v. Merrill, Case No. 2: 16-cv-783 (US District Court for the Middle District of Alabama) [Retained
         by plaintiffs to analyze data related to the discriminatory impact of Alabama’s felony disenfranchisement
         scheme over time], 2018-.
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Expert (written affidavit), League of Women Voters of Florida, Inc., et al. v. Detzner, Case No. 4:18-cv-00251-MW-CAS (US
         District Court for the Northern District of Florida) [Provided written report for plaintiffs (LWV) to extend
         early voting in Florida], 2018.
Expert (written affidavit), Ohio A. Philip Randolph Institute, et al. v. Secretary of State, Jon Husted, Case 2:16-cv-00303 (US
         District Court for the Southern District of Ohio, Eastern Division) [Provided written report and deposed for
         plaintiffs (APRI, ACLU OH, Demos) to reinstate registered voters removed by Ohio’s “Supplemental
         Process”], 2017. [Decision, Husted v. APRI, by SCOTUS, July 11, 2018].
Expert (written affidavits), Bellito & ACRU v. Snipes, Case 4:16-cv-61474 (US District Court for the Southern District of
         Florida, Ft. Lauderdale Division) [Provided written expert reports and deposed for intervenors (SEIU, Project
         Vote, Demos) to defend NVRA compliance by Broward Supervisor of Elections, 2017; testified at trial].
Consultant, ACLU, Georgia [Provided analysis of CVAP, VAP, and registered voters in Irwin County, Georgia], 2017.
Consultant, ACLU, Georgia [Provided analysis of proposed redistricting changes to the Georgia House of
         Representatives by the Georgia state legislature], 2017.
Expert (written affidavit), Florida Democratic Party v. Scott, Case 4:16-cv-00626 (US District Court for the Northern District
         of Florida) [Provided written expert report for plaintiff-intervenors (Mi Familia Vota Education Fund) to
         extend voter registration deadline in Florida due to Hurricane Matthew], 2016.
Consultant, ACLU, Georgia [Provided analysis of registration deadline in Georgia due to Hurricane Matthew], 2016.
Expert (written affidavit), Florida Democratic Party v. Detzner, Case 4:16-cv-00607 (US District Court for the Northern
         District of Florida) [Provided written empirical analysis for plaintiff on vote-by-mail ballots cast in Florida],
         2016.
Advisor, “Mad As Hell: Howard Jarvis and the Birth of the Tax Revolt,” Documentary Film by Jason Cohn, Bread and
         Butter Films [Academic Advisor on Jarvis and antecedents of Prop. 13], 2011-16.
Advisor, “Rigged,” Documentary Film by Natasha del Torro, Fusion TV (Naked Truth), 2016. [Winner of the Robert F.
         Kennedy Journalism Award for Best Documentary]. Available: http://tv.fusion.net/story/352548/naked-
         truth-rigged-elections-documentary/.
Advisor, “Voting: Last Week Tonight with John Oliver,” HBO, February 14, 2016. Available:
         https://www.youtube.com/watch?v=rHFOwlMCdto.
Expert (written affidavit), Frank v. Walker, Case 16-3003, 16-3052 (US Court of Appeals for the Seventh Circuit)
         [Provided written empirical analysis for plaintiffs (ACLU) on voter ID and turnout], 2015.
Expert (consultant), Greater Birmingham Ministries v. Alabama, Case 2:15-cv-02193-LSC (US District Court for the
         Northern District of Alabama, Southern Division) [Provided oral empirical analysis for plaintiffs (NAACP
         LDEF) on use of absentee ballots], 2015.
Consultant, America Votes [Provided demographic shift of registered voters analysis for state of Florida], 2015.
Expert (written affidavits), NAACP, et al. v. Husted, et al., 2:14 cv-00404 (US District Court for the Southern District of
         Ohio) [Provided written empirical analysis and deposed for plaintiffs (ACLU) on early in-person absentee
         voting in Ohio], 2014.
Expert (written affidavit), John Sullivan, et al. v. Marni Lin Sawiki, et al., 2013-CA-003122 (20th Judicial Circuit (Lee County,
         FL) [Provided written empirical analysis and deposed on early, absentee, and Election Day vote totals in the
         November 5, 2013 Cape Coral mayoral election], 2014.
Expert (written affidavit), Gateway Retail Center, LLC v. City of Jacksonville, Florida, 3:13-cv1040-J-TJC-JRK (US District
         Court for the Middle District of Florida) [Provided empirical analysis for Gateway Retail Center’s attorneys of
         African American voting during early voting in Duval County in the 2012 General Election], 2013.
Expert (written affidavits), Arcia, et al. v. Detzner, 1:12-cv-22282-WJZ (US District Court for the Southern District of
         Florida) [Provided empirical analysis for Arcia’s attorneys of the Florida Department of State’s various lists of
         “potential non-citizens”], 2012. [Arcia, et al. v. Florida Secretary of State (Defendant-Appellee) and Garcia, et al.
         (Intervenor Defendants), 12-15738 (Appealed in 11th Circuit, from the United States District Court for the
         Southern District of Florida), 2014.
Elections Analyst, WUFT (TV and Radio), Election Night Coverage, November 6, 2012.
Advisor, “Voters in America: Who Counts?” CNN Documentary Investigation, October 14, 2012.
         http://cnnpressroom.blogs.cnn.com/2012/10/19/voters-in-america-who-counts-joejohnscnn-investigates-
         voter-suppression-voter-fraud/
Expert (written affidavit), Brown v. Detzner 3:12-cv-00852 (US District Court for the Middle District of Florida)
         [Provided empirical analysis for Brown’s attorneys of minority early voting in Duval County during the 2008
         and 2010 general elections and the 2011 Jacksonville mayoral race], 2012.
Expert (written affidavits), Romo v. Scott, No. 2012-CA-000412 (Fla. Cir. Ct., Leon County). [Provided empirical analyses
         and deposed for Coalition’s attorneys of new Congressional redistricting maps submitted and adopted by the
         Florida legislature as well as alternative maps submitted by the The League of Women Voters of Florida, the
         National Council of La Raza, and Common Cause Florida], 2012-14.
Pro Bono Consultant (written work product), League of Women Voters of FL v. Browning, N.D. Fla. (4:11-cv-00628).
         [Provided empirical analysis for LWV’s attorneys (Brennan Center, New York University), assessing the impact
         of Florida’s “third party organization” voter registration requirements], 2012.
Pro Bono Consultant (written work product), Hillsborough Hispanic Coalition, Tampa, Florida, 2012. [Provided empirical
         analysis of the likely racial/ethnic impact of the redistricting maps adopted by the Hillsborough County
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           Commission, and provided alternative maps to be submitted by the Hillsborough Hispanic Coalition, in
           anticipation of federal litigation], 2012.
Invited Testimony, U.S. Senate, Judiciary Committee, Subcommittee on the Constitution, Civil Rights and Human Rights,
           “New State Voting Laws II: Protecting the Right to Vote in the Sunshine State,” January 2012.
Expert (written affidavit), Worley v. Detzner, U.S. District Court, N.D. Fla (4:10-cv-00423-RH-WCS). [Provided expert
           opinion to Florida Secretary of State to help defend Election code provisions concerning the reporting,
           registration, and disclosure requirements applicable to political committees (ballot issues)], 2010.
Expert (written affidavit), Citizens Against Slots v. PPE Casino, 999 A.2nd 181 (2010) 415 Md. 117. [Provided empirical
           analysis of the validity rates of the signatures submitted by Citizens Against Slots for a county popular
           referendum], 2010.
Expert (written affidavit), The Independence Institute, et. al. v. Bernie Buescher 1:2010-cv-00609. (US 10th Circuit) [Provided
           empirical analysis for the Office of the Colorado Attorney General to defend Secretary of State’s enforcement
           of public disclosure laws for ballot issue committees], 2009-2010.
Lead Author, “Direct Democracy Scholars” Amicus Brief, Doe v. Reed, 132 S. Ct. 449. [Provided empirical evidence that
           public disclosure of signatures on ballot measures serves sufficiently important governmental interests in order
           to prevent fraudulent signature gathering activities, to limit the deceptive solicitation of signatures, and to
           provide information to voters about ballot measures], 2010.
Expert (written affidavit), Dallman, et al. v. William Ritter and Rich L. Gonzales and Daniel Ritchie, et al 09SA224 (Colorado
           Supreme Court) [Provided empirical analysis for Ritter, Gonzales, and Ritchie of analysis of campaign financing
           of ballot measures], 2009-10.
Expert (written affidavit), Sampson v. Buescher, 08-1389, 08-1415 (US 10th Circuit) [Provided empirical analysis refuting
           claims of barriers to participation in ballot issue campaigns for Office of the Colorado Attorney General,
           defending Secretary of State’s enforcement of disclosure laws], 2007-10.
Consultant, Trust the Voters, Tallahassee, 2006.
Consultant, The Washington State Patrol Troopers Association [Conducted empirical analysis for State Patrol Troopers of the
           validity of signatures collected on ballot issue campaign], 2006.
Expert (written affidavit), The City of Winter Springs, FL v. Seminole County, City of Winter Springs, 2004.
Expert (written affidavit), California Pro-Life Council, Inc. v. Karen Getman, et al. 328 F.3d 1088, 1101 (US 9th Cir) [Provided
           empirical analysis for the Office of the California Attorney General on veiled political actors in California ballot
           measure campaigns], 2004-05.
Expert (written affidavit), Colorado Right to Life Committee, Inc. v. Donetta Davidson 395 F.Supp.2d 1001 (US 10th Circuit)
           [Provided empirical analysis of broadcasted television and direct mail ads in Colorado between 1999-2003 for
           the Office of the Colorado Attorney General], 2004-05.
Invited Testimony, Ballot Initiative Reform, Florida Legislature, 2002; 2003-05.
Invited Testimony Witness, Ballot Initiative Reform, Colorado Legislature, 1999-2000.
Consultant (pro bono), Ad Hoc Committee to Defend Heath Care, Denver, CO, 1998-2000.

International Consulting
Consultant, National Democratic Institute (NDI), Ghana, 2013.
Invited Written Testimony, British House of Lords, Constitution Committee (Direct Democracy), 2010.
Consultant, Institute of International Education (IIE)), New York, 2002-04.
Consultant, Coalition of Domestic Elections Observers (CODEO), Accra, Ghana, 2000-01.
Consultant, International Foundation for Election Systems (IFES), Washington, DC, 1999-2001.
Consultant, International Student Exchange Program (ISEP), Washington, DC, 1995-97.

BOOK REVIEWS & REVIEW ESSAYS
9) Daniel A. Smith. 2008. Review of Dorothy Holland, Donald M. Nonini, Catherine Lutz, Lesley Bartlett, Marla
         Frederick-McGlathery, Thaddeus C. Guldbradsen, and Enrique G. Murillo, Jr., Local Democracy Under Siege:
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8) Daniel A. Smith. 2006. Review of Stephen Nicholson, Voting the Agenda: Candidates, Elections, and Ballot
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7) Daniel A. Smith. 2005. Review of John Matsusaka, For the Many or the Few? The Initiative, Public Policy, and
         American Democracy, Perspectives on Politics 3: 646-47.
6) Daniel A. Smith. 2000. Review of Shaun Bowler and Todd Donovan, Demanding Choices: Opinion, Voting, and
         Direct Democracy, Social Science Quarterly 81: 1104-1106.
5) Daniel A. Smith. 1999. Review of Shaun Bowler, Todd Donovan, Caroline Tolbert, eds., Citizens as Legislators,
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4) Daniel A. Smith. 1998. Review of David Ryden, Representation in Crisis, Politics and Policy 26: 514-515.
3) Daniel A. Smith. 1998. Review of Grant Reeher and Joseph Cammarano, eds., Education for Citizenship, H-Pol, H-
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2) Daniel A. Smith. 1997. Review Essay of William S. K. Reno, Corruption and State Politics in Sierra Leone, and Sahr
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1) Daniel A. Smith. 1996. Review of Stephen Lowe, The Kid on the Sandlot: Congress and Professional Sports, 1910-
         1992, Sport History Review 27: 90-92.

TEACHING GRANTS, HONORS, AND AWARDS
Anderson Scholar Award, College of Liberal Arts and Sciences, University of Florida, 2011; 2015; 2016; 2017
Political Science Board of Advisors, “Outstanding Professor Award,” University of Florida, Spring 2008.
Center for Teaching and Learning Technology Grant, “Introduction to American Politics: Web-Based Interactive
           Learning,” University of Denver, Spring, 1997.
Faculty Appreciation Award, Learning Effectiveness Program, University of Denver, April 1997.
Curriculum Diversity Grant, “A Theater History: The Racial and Class Politics of US Drama from Colonization
           Forward,” University of Denver, Winter, 1997.
CORE Development Grant, “Drama of Politics/Politics of Drama,” University of Denver, Summer, 1996.
International Small Grants, “Summer Student Study Abroad Program: University of Ghana at Legon,” Office of
           Internationalization, University of Denver, Spring, 1995.
International Small Grants, “Ghana Study Abroad Program,” Office of Internationalization, University of Denver, Spring,
           1995.

NEWSPAPER OP-EDS, INVITED BLOG POSTS & LETTERS TO THE EDITOR
Invited Blog Post, “Who Votes Provisionally and Why? A Look at North Carolina’s 2016 General Election,” MIT
          Election Science Data Lab, May 2, 2018. https://medium.com/mit-election-lab/who-votes-provisionally-and-
          why-4dd413c02fa9 (with Lia Merivaki).
Op-Ed, “Do we have a right not to vote? The Supreme Court suggests we don’t,” NY Daily News, June 12, 2018 (with
          Michael C. Herron).
Op-Ed, “If more states start using Ohio’s system, how many voters will be purged?” The Washington Post (Monkey Cage),
          June 17, 2018 (with Michael C. Herron).
Op-Ed, “2-to-1 Registration Advantage for Democrats Among 440K New Hispanic Voters In Florida,” Huffington Post,
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          advan_b_12385884.html.
Op-Ed, “The Battle Over "One Person, One Vote," Has Just Begun,” The American Prospect, April 18, 2016. (with Carl
          Klarner) Available: http://prospect.org/article/one-person-one-vote-battle-just-starting
Invited Blog Post, “Party competition is the primary driver of the recent increase in restrictive voter ID laws in the
          American states,” London School of Economics, U.S. Politics and Policy, November 12, 2014.
          http://blogs.lse.ac.uk/usappblog/2014/11/12/party-competition-is-the-primary-driver-of-the-recent-increase-
          in-restrictive-voter-id-laws-in-the-american-states/
Op-Ed, “Rejected Ballots in Florida,” Florida Voices, November 4, 2012 (with Michael Herron).
Op-Ed, “High ballot rejection rates should worry Florida voters,” Tampa Bay Times, October 28, 2012 (with Michael
          Herron).
Op-Ed, “Voters need to push back against corporate cash,” St. Petersburg Times, July 13, 2010.
Op-Ed, “A chance for Floridians to redraw rigged districts,” St. Petersburg Times, November 25, 2009.
Op-Ed, “Lawmakers don’t trust voters with the constitution,” Gainesville Sun, October 21, 2006.
Op-Ed, “Jeb Bush’s secret-squirrel hunt? Rocky, that’s just a bunch of Bullwinkle,” Orlando Sentinel, February 23, 2006.
Op-Ed, “Colorado: Independent of Whom?” Ballot Initiative Strategy Center, Ballot Blog, August 29, 2005.
Op-Ed, “Stop Political Fund-Raising Arm,” Gainesville Sun, April 25, 2004 (with Nicole M. James).
Op-Ed, “Committees Hold the Secret to Campaign Financing,” St. Petersburg Times, April 10, 2004 (with Nicole M.
          James).
Letter, “Reform Ballot Initiative and Preserve the People’s Power,” Miami Herald, February 29, 2004.
Op-Ed, “No: The Rich Have Taken Over,” Denver Post, December 1, 2002.
Op-Ed, “The Millionaire’s Club: Why Leave Ballot Initiatives to the Rich?” Denver Post, August 18, 2002 .
Op-Ed, “The Political Consequence of ‘Praying for Peace,’” The Crusading Guide [Accra, Ghana], 12-18 October, 2000.
Letter, “Book’s [Democracy Derailed by David Broder] premise is problematic,” Denver Post, May 28, 2000.
Letter, “Initiative process ignores rural voices,” Denver Rocky Mountain News, March 15, 2000.
Op-Ed, “Progressives need to show initiative on ballot signatures,” Denver Post, January 13, 2000.
Op-Ed, “Colorado should put campaign finance data on the Internet,” Denver Post, November 4, 1998 (with Richard
          Braunstein).
Letter, “Follow the Money,” Washington Post, October 12, 1998.
Op-Ed, “Voters behind rule,” Denver Post, June 21, 1998.
Op-Ed, “Founders crafted safeguards against popular excesses,” Denver Post, May 21, 1995.

CONFERENCE PAPER PRESENTATIONS
“Voter Registration after Parkland and Early Voting on College Campuses,” American Political Science Association,
         Washington, DC, August 28-September 1, 2019 (with Enrijeta Shino).
“Did Ballot Design Oust a US Senator? A Study of the 2018 Election in Florida,” American Political Science
         Association, Washington, DC, August 28-September 1, 2019 (with Michael C. Herron & Michael Martinez).
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“Barriers to Registering Returning Citizens in Florida,” American Political Science Association, Washington, DC, August
          28-September 1, 2019.
“Ballot Design, Voter Intentions, and Representation: A Study of the 2018 Midterm Election in Florida,” Election
          Sciences, Reform, and Administration, University of Pennsylvania, July 10-12, 201 (with Michael C. Herron &
          Michael Martinez).
“Mobilizing the Youth Vote? Early Voting on College Campuses in Florida,” 19 th State Politics and Policy Conference at
          the University of Maryland, May 30-June 1, 2019 (with Enrijeta Shino).
“Did Ballot-Design Outs an Incumbent Senator? A Study of the 2018 Midterm Election in Florida,” Midwest Political
          Science Association Annual Meeting, April 4-7, 2019, Chicago (with Michael Herron and Michael Martinez).
“Election Administration and Public Records Responsiveness,” Midwest Political Science Association Annual Meeting,
          April 4-7, 2019, Chicago (with Enrijeta Shino, Anna Baringer, Justin Eichermuller, and William Zelin).
“Estimating the Differential Effects of Purging Inactive Registered Voters,” American Political Science Association,
          Boston MA, August 28-September 1, 2018 (with Michael C. Herron).
“Estimating the Differential Effects of Purging Inactive Registered Voters,” Election Sciences, Reform, and
          Administration, University of Wisconsin-Madison, July 26-27, 2018 (with Michael C. Herron).
“Exact-Match Voter List Verification and Turnout,” 18th State Politics and Policy Conference at Penn State, June 7-9,
          2018 (with Michael P. McDonald, Pedro Otálora, and Enrijeta Shino).
“Estimating the Differential Effects of Purging Inactive Registered Voters,” at the 18th State Politics and Policy
          Conference at Penn State, June 7-9, 2018 (with Michael C. Herron).
“Who are Provisional Voters? Evidence from North Carolina,” Midwest Political Science Association Annual Meeting,
          April 5-8, 2018, Chicago (with Lia Merivaki).
“A History and Analysis of Black Representation in Southern State Legislatures,” Symposium on Southern Politics, The
          Citadel, Charleston, South Carolina, March 1-2, 2018 (with Charles S. Bullock III, William D. Hicks, M. V.
          (Trey) Hood III, Seth C. McKee, and Adam Myers).
“Who are Provisional Voters? Evidence from North Carolina,” Southern Political Science Association Annual Meeting,
          January 4-7, 2018, New Orleans (with Lia Merivaki).
“Naturalizing the Party: Party Registration and Voter Turnout of Foreign-Born Citizens,” State of the Party: 2016 &
          Beyond, November 10, 2017, Ray C. Bliss Institute of Applied Politics, University of Akron, Ohio (with Lidia
          Kurganova).
“The Erosion of Liberal Democracy: Dissensus and Ideology in America,” American Political Science Association, San
          Francisco, August 31-September 3, 2017 (with William D. Hicks and Seth C. McKee.
“Early Voting Availability and Turnout in Florida and North Carolina,” American Political Science Association, San
          Francisco, August 31-September 3, 2017 (with David Cottrell and Michael C. Herron).
“Determinants of County Level Voter Turnout, 1970-2016,” American Political Science Association, San Francisco,
          August 31-September 3, 2017 (with Carl Klarner, Brian Amos, and Michael P. McDonald).
“Waiting to Vote: Using EViD Data to Assess the Electoral Consequences of Long Voting Lines,” Midwest Political
          Science Association annual meetings, April 6-9, 2017, Chicago (with David Cottrell and Michael C. Herron).
“Timing the Habit: Voter Registration and Turnout in the American States,” American Political Science Association,
          Philadelphia, September 1-4, 2016 (with Enrijeta Shino).
“Revisiting Majority-Minority Districts and Black Representation,” American Political Science Association, Philadelphia,
          September 1-4, 2016 (with Seth C. McKee, William D. Hicks; Carl E. Klaner).
“Defending Democracy: How Political Scientists Are Engaging in the Fight over Voting Rights (and Why You and Your
          Dept. Should too),” APSA Roundtable with Theda Skocpol, Presented by the Scholars Strategy Network,
          American Political Science Association, Philadelphia, September 1-4, 2016.
“Timing the Habit: Voter Registration and Turnout in the American States,” State Politics and Policy Conference,
          University of Texas at Dallas, May 19-21, 2016 (with Enrijeta Shino).
“Revisiting Majority-Minority Districts and Descriptive Representation,” State Politics and Policy Conference, University
          of Texas at Dallas, May 19-21, 2016 (with Seth C. McKee, William D. Hicks; Carl E. Klarner).
“Purging Participation? Eligibility Challenges, Psychological Reactance, and the Decision to Vote,” Midwest Political
          Science Association annual meetings, April 7-10, 2016, Chicago (with Daniel Biggers and Bryce Freeman).
“Missing Black Men and Representation in American Political Institutions,” Midwest Political Science Association
          annual meetings, April 7-10, 2016, Chicago (with David Cottrell, Michael Herron, and Javier Rodriguez).
“Early Voting Effects on Pre-Election Poll Estimates,” Southern Political Science Association, January 7-10, 2016, San
          Juan, Puerto Rico (with Michael P. McDonald, Michael D. Martinez, and Chris McCarty).
“Your Ballot’s in the Mail: The Effects of Unsolicited Absentee Ballots,” American Political Science Association, San
          Francisco, September 1-4, 2015 (with Michael Martinez)
“A Reassessment of the Turnout Effects in of Election Reforms in the United States,” American Political Science
          Association, San Francisco, September 1-4, 2015 (with Michael P. McDonald and Enrijeta Shino).
“Reprecincting and Voting Behavior,” American Political Science Association, San Francisco, September 1-4, 2015 (with
          Brian Amos and Casey Ste. Claire)
“Looks Can Be Deceiving: Explaining Support for Online Voter Registration in the American States,” State Politics and
          Policy Conference, California State University, Sacramento, May 28-30, 2015 (with William Hicks and Seth
          McKee).
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“Public Opinion on Statewide Ballot Measures,” State Politics and Policy Conference, California State University,
         Sacramento, May 28-30, 2015 (with Diana Forster).
“Early Voting Effects on Pre-Election Poll Estimates,” American Association for Public Opinion Research Annual
         Conference, May 14-17, 2015, Hollywood, Florida (with Michael P. McDonald, Michael D. Martinez, and Chris
         McCarty).
“Dumbing Down the Electorate? Assessing the Political Knowledge of Early Voters,” Midwest Political Science
         Association annual meetings, April 15-19, 2015, Chicago (with Enrijeta Shino).
“Race, Shelby County, and the Voter Information Verification Act in North Carolina,” American Political Science
         Association, Washington, DC, August 27-31, 2014 (with Michael C. Herron).
“Who Signs? Ballot Petition Signatures as Political Participation,” American Political Science Association, Washington,
         DC, August 27-31, 2014 (with Diana Forster and Brian Amos).
“Race, Shelby County, and the Voter Information Verification Act in North Carolina,” State Politics and Policy
         Conference, Indiana University, Bloomington, IN, May 15-17, 2014 (with Michael C. Herron).
“The Effects of Spatial Proximity on Voting,” State Politics and Policy Conference, Indiana University, Bloomington,
         IN, May 15-17, 2014 (with Kenton Ngo).
“Race, Shelby County, and the Voter Information Verification Act in North Carolina,” Midwest Political Science
         Association Conference, Chicago, April 3-6, 2014 (with Michael C. Herron).
 “Beyond Regulatory Interpretation: The Demand and Supply of Provisional Ballots in Florida,” Symposium on
         Regulation in the U.S. States, DeVoe Center, Florida State University, Tallahassee, February 21, 2014 (with Lia
         Merivaki).
“Evolution of an Issue: Voter ID Laws in the American States,” American Political Science Association Conference,
         Chicago, August 28-September 2, 2013 (with Seth McKee, William Hicks, and Mitch Sellers).
“Closing the Door on Democracy”: Early Voting and Participation in Florida,” American Political Science Association
         Conference, Chicago, August 28-September 2, 2013 (with Michael Herron).
 “Evolution of an Issue: Voter ID Laws in the American States,” State Politics and Policy Quarterly 13th annual
         conference, University of Iowa, Iowa City, IA, May 23-25, 2013 (with Seth McKee, William Hicks, and Mitch
         Sellers).
“Early Voting in Florida in the Aftermath of House Bill 1355,” State Politics and Policy Quarterly 13th annual
         conference, University of Iowa, Iowa City, IA, May 23-25, 2013 (with Michael Herron).
“Racial Disparities in Provisional Ballot Rejection Rates,” Midwest Political Science Association Conference, Chicago,
         April 11-14, 2013 (with Michael Herron).
“Who Registers? The Differential Impact of Florida’s House Bill 1355 on Voter Registration,” American Political
         Science Association Conference, New Orleans, August 30-September 2, 2012 (with Michael Herron).
“The Effect of Polling Locations Upon Vote Choice: A Natural Experiment,” Southern Political Science Association
         Conference, Orlando, January 3-5, 2013 (with Charles Dahan).
“Casting and Verifying Provisional Ballots in Florida,” Southern Political Science Association Conference, Orlando,
         January 3-5, 2013 (with Lia Merivaki).
“Who Registers? The Differential Impact of Florida’s House Bill 1355 on Voter Registration,” American Political
         Science Association Conference, New Orleans, August 30-September 2, 2012 (with Michael Herron).
“The Participatory Impact of Truncating Early Voting in Florida,” State Politics and Policy Quarterly 12th annual
         conference, Rice University, Houston, TX, February 16 – February 18, 2012 (with Michael Herron).
“Engaging Potential Voters? The Collection of Valid Signatures on Ballot Petitions,” State Politics and Policy Quarterly
         11th annual conference, Dartmouth University, June 4-6, 2011 (with Diana Forster).
“Pledging Democracy: Congressional Support for a National Advisory Initiative and Referendum,” Southern Political
         Science Association, January 5-8, 2011, New Orleans (presented by Matthew Harrigan).
“We Know What You Did Last Summer: The Impact of Petition Signing on Voter Turnout,” State Politics and Policy
         Quarterly 10th annual conference, University of Illinois, Springfield, June 5-6, 2010 (with Janine Parry and
         Shayne Henry).
“Reassessing Direct Democracy and Civic Engagement: A Panel Study of the 2008 Election,” State Politics and Policy
         Quarterly 10th annual conference, University of Illinois, Springfield, June 5-6, 2010 (with Caroline J. Tolbert
         and Amanda Frost).
“Generating Scholarship from Public Service: Media Work, Nonprofit Foundation Service, and Legal Expert
         Consulting,” State Politics and Policy Quarterly 10th annual conference, University of Illinois, Springfield, June
         5-6, 2010.
“Obama to Blame: Minority Surge Voters and the Ban on Same-Sex Marriage in Florida,” American Political Science
         Association Conference, Toronto, September 2-5, 2009 (with Stephanie Slade).
“State Context and Support for a National Referendum in the U.S.” State Politics and Policy Quarterly 9th annual
         conference, UNC Chapel Hill/Duke University, May 22-23, 2009 (with Caroline J. Tolbert and .Amanda
         Frost).
“Direct Democracy, Opinion Formation, and Candidate Choice,” American Political Science Association Conference,
         Boston, August 2008 (with Caroline J. Tolbert).
“The Legislative Regulation of the Initiative,” State Politics and Policy Quarterly 8th annual conference, Temple
         University, Philadelphia, PA, May 30-31, 2008.
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“The Initiative to Shirk? The Effects of Ballot Measures on Congressional Voting Behavior,” State Politics and Policy
          Quarterly 8th annual conference, Temple University, Philadelphia, PA, May 30-31, 2008 (with Josh Huder and
          Jordan Ragusa).
“Participatory-Based Trust? Political Trust and Direct Democracy,” American Political Science Association Conference,
          Chicago, August 2007 (with Caroline J. Tolbert and Daniel Bowen).
“Giving Power to the People: The Adoption of Direct Democracy in the American States,” Western Political Science
          Association Conference, Las Vegas, NV, March 7-9, 2007 (with Dustin Fridkin)
“Mass Support for Redistricting Reform: District and Statewide Representational Winners and Losers,” State Politics
          and Policy Quarterly 7th annual conference, Austin, TX, February 22-24, 2007 (with Caroline J. Tolbert and
          John C. Green).
“Mass Support for Redistricting Reform: Partisanship and Representational Winners and Losers,” American Political
          Science Association Conference, Philadelphia, August 2006 (with Caroline J. Tolbert and John C. Green).
“Gaming the System: The Effect of BCRA on State Party Finance Activities.” The State of the Parties: 2004 & Beyond. Ray
          C. Bliss Institute for Applied Politics, Akron, OH, October 2005 (with Susan Orr).
“Do State-Level Ballot Measures Affect Presidential Elections?” American Political Science Association Conference,
          Washington, D.C., September 1-4, 2005 (with Caroline Tolbert and Todd Donovan).
“Did Gay Marriage Elect George W. Bush?” Fifth Annual Conference on State Politics and Policy, Michigan State University,
          East Lansing, MI, May 13-14, 2005 (with Todd Donovan, Caroline Tolbert, and Janine Parry).
“Was Rove Right? Evangelicals and the Impact of Gay Marriage in the 2004 Election.” Fifth Annual Conference on State
          Politics and Policy, Michigan State University, East Lansing, MI, May 13-14, 2005 (with Matt DeSantis and Jason
          Kassel).
“Partisanship, Direct Democracy, and Candidate Choice,” Midwest Political Science Association Conference, Chicago, IL, April
          7-10, 2005 (with Caroline Tolbert and Todd Donovan).
“Did Gay Marriage Elect the President? Mobilizing Effects of Ballot Measures in the 2004 Election,” Western Political
          Science Association Conference, Oakland, CA, March 17-19, 2005 (with Todd Donovan and Caroline Tolbert).
“Initiatives and Referendums: The Effects of Direct Democracy on Candidate Elections,” Conference on What We Know
          and Don’t Know about Campaigns and Elections, Graduate Program in Political Campaigning, University of Florida,
          Gainesville, FL, February 24-5, 2005.
“Was Rove Right? The Partisan Wedge and Turnout Effects of Issue 1, Ohio’s 2004 Ballot Initiative to Ban Gay
          Marriage,” University of California Center for the Study of Democracy/USC-Caltech Center for the Study of Law and
          Politics/Initiative and Referendum Institute Conference, Newport Beach, CA, January 14-15, 2005.
“The Educative Effects of Direct Democracy on Voter Turnout,” American Political Science Association Conference, Chicago,
          IL, September 1-5, 2004 (with Caroline Tolbert).
“Turning On and Turning Out: Assessing the Indirect Effects of Ballot Measures on Voter Participation,” Fourth Annual
          Conference on State Politics and Policy, Kent State University, Kent, OH, April 30-May 2, 2004 (with Todd
          Donovan).
“Veiled Political Actors: The Real Threat to Campaign Finance Disclosure Statutes?” Midwest Political Science Association
          Conference, Chicago, April 14-18, 2004 (with Elizabeth Garrett).
“Elephants, Umbrellas, and Quarrelling Cocks: Disaggregating Party Identification in Ghana’s Fourth Republic,”
          Western Political Science Association Conference, Portland, OR, March 11-13, 2004 (with Kevin Fridy).
“Gaming the System: State Party Finance Activities in Colorado and Florida,” Southern Political Science Association
          Conference, New Orleans, January 7-10, 2004.
“The Educative Effects of Direct Democracy: Ballot Campaigns and Civic Engagement in the American States,” Societa
          Italiana di Studi Elettorali (SISE) VIIIth International Conference on Electoral Campaigns (Initiative and
          Referendum),Venice, Italy, December 18-20, 2003.
“In the Wake of Prop. 13,” American Political Science Association Conference, Philadelphia, PA, August 27-31, 2003.
“Soft Money and Issue Advocacy in the 2002 Colorado 7th Congressional District Election,” Western Political Science
          Association Conference, Denver, CO, March 26-30, 2003.
“Educated by Initiative: Direct Democracy and Civic Engagement in the American States,” Third Annual Conference on
          State Politics and Policy, University of Arizona, Tucson, AZ, March 14-15, 2003 (with Caroline Tolbert).
“Ballot Initiatives and the (Sub)Urban/Rural Divide in Colorado,” Colorado’s Future: How Can We Meet the Needs of a
          Changing State? University of Colorado at Colorado Springs, September 27, 2002.
“Representation and the Spatial Dimension of Direct Democracy,” American Political Science Association Conference, Boston,
          MA, August 29-September 1, 2002.
“Representation and the Spatial Bias of Direct Democracy,” Second Annual Conference on State Politics and Policy,” University
          of Wisconsin-Milwaukee, Milwaukee, WI, May 24-25, 2002.
“Minority Rights and the Spatial Bias of Direct Democracy,” Southwestern Political Science Association Conference, New
          Orleans, LA, March 27-30, 2002.
“Representation and the Urban Bias of Direct Democracy,” Western Political Science Association Conference, Long Beach, CA,
          March 21-24 2002.
“Ghost Busters: The Structural Underpinnings and Politics of Ghana’s 2000 Elections,” African Studies Association
          Conference, Houston, TX, November 15-18, 2001.
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“The Effect of Ballot Initiatives on Voter Turnout,” American Political Science Association Conference, Washington, DC,
          August 31-September 3, 2000 (with Caroline Tolbert and John Grummel).
“Campaign Finance of Ballot Initiatives,” National Direct Democracy Conference, University of Virginia’s Center for
          Governmental Studies, Charlottesville, VA, June 8-9, 2000.
“Meet the Authors Roundtable: Recent Books on Direct Democracy in the States,” Midwest Political Science Association
          Conference, Chicago, April 27-30, 2000.
“Counter-Majoritarian Bills and Legislative Response of State Ballot Initiatives,” Western Political Science Association
          Conference, San Jose, March 24-26, 2000.
“The Gun Behind the Door Fires Blanks,” Pacific Northwest Political Science Association Conference, Eugene, OR, October 14-
          16, 1999.
“Orange Crush: Mobilization of Bias, Ballot Initiatives, and the Politics of Professional Sports Stadia,” American Political
          Science Association Conference, Atlanta, September 2-5, 1999 (with Sure Log).
“Direct Democracy in Colorado: Limited Information, Tough Choices,” A Century of Citizen Lawmaking: Initiative and
          Referendum in America, Initiative and Referendum Institute, Washington, D.C., May 6-8, 1999.
“The Initiative to Party: The Role of Political Parties in State Ballot Measures,” Western Political Science Association
          Conference, Seattle, March 25-28, 1999.
“Direct Democracy in the Late 20th Century: The Legacy(ies) of Prop. 13,” Roundtable, American Political Science
          Association Conference, Boston, September 3-6, 1998.
“The Legacy of Howard Jarvis and Proposition 13? Tax Limitation Initiatives in 1996,” Western Political Science Association
          Conference, Los Angeles, March 19-21, 1998.
“Special Interests and the Initiative Process in Colorado: The Case of the Parental Rights Amendment” (with Robert
          Herrington), Poster Session, American Political Science Association Conference, Washington, D.C., August 28-31,
          1997.
“Howard Jarvis, Populist Entrepreneur: Reevaluating Causes of Proposition 13,” Western Political Science Association
          Conference, Tucson, March 13-15, 1997.
“Guided Immersion: A Non-Traditional Study Abroad Program at the University of Ghana at Legon,” Midwest Political
          Science Association Conference, Chicago, April 10-12, 1997.
“Exploring the Political Dimension of Privatization: A Tale of Two Cities” (with Kevin Leyden), Midwest Political Science
          Association Conference, Chicago, April 18-20, 1996.
“Populist Entrepreneur: Douglas Bruce and the Tax Limitation Movement in Colorado,” 20th Annual Interdisciplinary
          Symposium of the Politics and Culture of the Great Plains, Lincoln, April 11-13, 1996.
“Faux Populism: Douglas Bruce and the Anti-Tax Moment in Colorado, 1986-1992,” Western Political Science Association
          Conference, San Francisco, March 14-16, 1996.
“Insular Democracy: Advisory Councils and Task Forces in the American States,” Western Political Science Association
          Conference , Portland, March 1995.
“Supporting Labor-Management Initiatives at the State Level: The Case of the West Virginia Labor-Management
          Advisory Council,” Southern Industrial Relations and Human Resource Conference, Morgantown, WV, October 1994.
“State Autonomy, Capacity, and Coherence: Labor-Management Councils in the American States,” Western Political Science
          Association Conference, Albuquerque, March 1994.
“Removing the Pluralist Blinders: Labor-Management Councils and Industrial Policy in the American States,” American
          Political Science Association Conference, Chicago, September 1992.
“You Can’t Live with Them...The Emerging Role of Organized Labor in Industrial Policy in the American States,”
          Midwest Political Science Association Conference, Chicago, April 1992.
“It Can Happen Here: Apprenticeship, Workplace-based Learning, and the Affirmative Role of Unions” (with Eric
          Parker), Southwestern Political Science Association Conference, Austin, TX, March 1992.
“The Affirmative Role of U.S. Unions in Restructuring” (with Eric Parker), American Sociological Association Conference,
          Indianapolis, IN, August 1991.
“Economic Development Strategy and the Problem of Skills: The Case of Wisconsin’s Advanced Metalworking Sector”
          (with Eric Parker), American Society for Public Administration Conference, Cleveland, OH, October 1990.

INVITED TALKS AND OTHER PROFESSIONAL PRESENTATIONS
Keynote Speaker, “6 Things Every Democrat Should Know about Florida Elections,” Democratic Women’s Club of
         Florida, 63rd Annual Convention, Orlando, September 14, 2019.
Invited Talk, “5 Things Every Floridian Should Know about Florida Elections,” Stetson University, April 25, 2019.
Invited Talk, “The 2018 Mid-Term Elections,” Graham Center, University of Florida, Gainesville, Florida, November
         13, 2018.
Invited Talk, “Is a Blue Wave Coming? The 2018 General Election,” FedCon, National Association of Retired Federal
         Employees Association, Jacksonville, Florida, August 28, 2018.
Invited Talk, “Voting Rights Litigation,” ACLU of Florida, 2018 Lawyers Conference, Delray Beach, Florida, September
         7, 2018.
Invited Panelist, “The Black Vote: Is it being taken for Granted?” Collaboratively Woke and The Virginia Leadership Institute,
         Downtown Alachua Public Library, Gainesville, Florida, June 23, 2018.
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Invited Talk, “Public Records Requests and Analyzing Elections in Florida,” The Bob Graham Center for Public
         Service, University of Florida, Gainesville, Civic Scholar Lecture, February 14, 2018.
Invited Talk, “Voting in Florida,” Voter Suppression Forum, The Bob Graham Center for Public Service, University of
         Florida, Gainesville, November 13, 2017.
Invited Talk, “Journalist-Scholar Big Data Partnerships,” Investigative Reporters and Editors, The National Institute for
         Computer-Assisted Reporting, Annual Conference, Jacksonville, FL, March 2, 2016.
Invited Talk, “Florida’s Constitutional Revision Commission and Game Theory,” Future of Florida Summit, University
         of Florida, Gainesville, Florida, February 18, 2016.
Invited Talk, “Explaining Trump’s Win in Florida: 10 Election Myths and Realities,” Graham Center, University of
         Florida, Gainesville, Florida, November 14, 2016.
Invited Response, Michael Kang (Emory School of Law) “Law and Politics of Judging Election Cases,” University of
         Florida School of Law, Gainesville, Florida, November 4, 2016.
Invited Talk, “Patterns of Political Participation in Florida,” Women, Race, and the U.S. Presidency, The Center for The
         Study of Race and Race Relations & The Center for Gender, Sexualities, and Women’s Studies Research,
         University of Florida, Gainesville, October 13, 2016.
Invited Talk, “The Structural Pathologies of the American Electoral System,” US Fulbright Association (UF
         International Center), Gainesville, September 27, 2016.
Invited Talk, “Registered Voters and Turnout in Alachua County,” Gainesville Area Chamber of Commerce’s
         Leadership Gainesville 43 Government and Policy Day, September 8, 2016.
Invited Talk, “The Politics of Voter Suppression in Florida,” Santa Fe College, American Democracy Project, February
         9, 2016.
Invited Talk, “The Contributions and Conundrums of Technology: EAVS Data Reporting Consistency,” at The
         Evolution of Election Administration since the VRA, Auburn University, September 15, 2015 (with Lia
         Merivaki).
Invited Talk, “2014 Election Wrap-Up,” Graham Center, University of Florida, Gainesville, Florida, November 6, 2014.
Roundtable Participant, “I Am A Millennial: The Importance of the Youth and Minority Vote,” Graham Center,
         University of Florida, October 23, 2014.
Invited Talk, “Voting Rights in North Carolina,” Emory University, Atlanta, April 8, 2014.
Keynote Speaker, “Anticipating 2014: The State of Voting Rights in Florida,” Gainesville Labor Council, Gainesville,
         Florida, December 9, 2013.
Invited Talk, “Design Fail: The Attack on Voting Rights in Florida,” University of Florida Retired Faculty, Harn
         Museum, University of Florida, February 22, 2013.
Keynote Speaker, “The Attack on Voting Rights in Florida,” Gainesville Labor Council, Gainesville, Florida, December
         10, 2012.
“Moved by the Spirit? Atmospherics and Ballot Measure Vote Choice,” Initiatives and Referendums in the Elections of
         2012, University of Southern California, November 16, 2012 (with Charles Dahan).
Invited Talk, “Design #Fail: Voting Rights in Florida,” Graham Center’s Election Wrap Up: Decision 2012, University
         of Florida, Gainesville, Florida, November 13, 2012.
Invited Talk, “Consolidating Representation in Ghana? Parliamentary Malapportionment and Rejected Ballots,” Stability
         Amidst Chaos: Reflections on Two Decades of Ghanaian Democracy, Program of African Studies, Northwestern
         University, Chicago, Illinois, October 12, 2012.
Keynote Speaker, “Curtailing Voting Rights in Florida,” Civic Dialogues and the 2012 Election in the United States, College of
         Central Florida, Ocala, Florida, October 22, 2012.
Keynote Speaker, “The Return of Jim Crow? Voting Rights Under Florida’s House Bill 1355,” League of Women
         Voters, Annual Fall Luncheon, Gainesville, Florida, September 11, 2012.
Invited Talk, “Litigating Voting Rights in Florida,” 8th Judicial Circuit Florida Bar Association, Continuing Legal
         Education, Gainesville, Florida, September 21, 2012.
Invited Presentation, “The Impact of HB 1355 on Florida’s Hispanics,” Gator Academic Outreach Symposium, co-
         hosted by Hispanic Alumni Association and Miami-Dade College, Miami, FL, May 11, 2012.
Invited Talk, “Voting and Elections in the United States,” US Embassy, Accra, Ghana, live satellite talk to US Embassy,
         Ivory Coast, October 3, 2011.
Invited Public Lecture, “Ghana’s National Electoral Commission and the 2012 Elections: The Malapportionment of
         Parliamentary Constituencies, Rejected Ballots, and Questions of Representation,” Department of Political
         Science International Lecture Series, University of Ghana, Accra, Ghana, November 17, 2011. [Q&A followed
         by several media interviews, including RadioUniverse, Ghana Television Broadcasting and TV3].
Invited Public Lecture, “Assessing the Credibility of Public Opinion Polls,” Ghana Center for Democratic Development
         (CDD-Ghana), Accra, Ghana, November 23, 2011. [Taped broadcast by TV3 and several FM stations].
Invited Talk, “Obama to Blame?” Penn State University, February 26, 2010.
Invited Talk, “Shirking the Initiative?” Rutgers University, November 6-7, 2008.
Invited Talk, “Granting Power to the People: The Adoption of Direct Democracy in the American States,” Bose Series
         Lecturer, University of Iowa, Iowa City, November 7-10, 2007.
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Invited Talk, “Instrumental Effects of the Initiative in the American States,” The Voice of the Crowd—Colorado’s
          Initiative, Byron R. White Center for the Study of American Constitutional Law, University of Colorado,
          Boulder, Old Supreme Court Chambers, Colorado State Capitol, Denver, January 26, 2007.
Invited Paper/Presentation, “Initiating Reform: The Effects of Ballot Measures on State Election and Ethics Policy,”
          2008 and Beyond: The Future of Election and Ethics Reform in the States, Ohio State Capital Building, Kent
          State University, January 16, 2007.
Invited Paper/Presentation, “Financing Ballot Measures in the American States,” Financing Referendum Campaigns
          Conference, University of Zurich, Switzerland, October 27-29, 2006.
Invited Talk, “Pressure at the Polls/Ballot Initiatives,” Capitol Beat Conference, Columbus, OH, August, 2006.
Invited Talk, “Turnout and Priming Effects of Ballot Initiatives,” Ballot Initiative Strategy Center Spring Briefing,
          National Education Association, Washington, DC, May 11, 2006.
Invited Talk, “The People as Legislators: The Influence of Direct Democracy,” Moritz College of Law, Ohio State
          University. Columbus, OH, March 3, 2006.
Invited Public Debate, “Initiative Reform in Florida,” Orlando Regional Chamber of Commerce, Orlando, FL, February 23,
          2006.
Invited Talk, “Direct Democracy: The Battle over Citizen Lawmaking,” Minnesota Council of Nonprofits, Public Policy Day
          2006: Nonprofits as a Force for Change, Minneapolis, MN, January 26, 2006.
Keynote Speaker, “Taking the Initiative in Florida,” National Conference of Editorial Writers Regional Conference,
          University of Central Florida, Orlando, FL, October 16, 2005.
Panelist, “The Educative Effects of Direct Democracy,” Direct Democracy: Historical Roots and Political Realities, The Bill
          Lane Center for the Study of the North American West, Stanford University, Stanford, CA, April 14-15, 2005.
Panelist, “The Initiative and Referendum Process,” The 2004 Election: What Does it Mean for Campaigns and Governance?
          University of Southern California Law School, Los Angeles, CA, October 8, 2004.
Invited Talk, “Florida’s Initiative Process,” Oak Hammock, Gainesville, FL, October 21, 2004.
Invited Talk, “Educated by Initiative,” Oak Hammock, Gainesville, FL, October 6, 2004.
Invited Talk, “Are Initiatives Good or Bad for Business,” National Chamber of Commerce Federation, Boca Raton, FL,
          February 22, 2004.
Panelist, “Roundtable on Florida Politics,” UF-FSU Colloquium, Gainesville, FL, November 10, 2003.
Panelist, “Initiatives and Referenda: Implications for Public Administration and Governance,” National Academy of Public
          Administration, Washington, DC, October 22, 2003.
Panelist, “Initiatives and Referenda: Direct Democracy or Government for Sale?” New York Bar Association, New York
          City, May 8, 2003.
Keynote Speaker, “Direct Democracy in Colorado: The (Sub)Urban-Rural Divide,” Colorado Water Congress Annual
          Meeting, Denver, November 8, 2002.
Invited Talk, “Prospects for a Universal Health Care Ballot Initiative in Florida,” Alachua County Labor Party,
          Gainesville, FL, January 25, 2002.
Invited Talk, “The 2000 Ghana Elections: Lessons for the Future,” The Center for African Studies, University of Florida,
          Gainesville, August 28, 2001.
Panelist, “Graduate Studies in Canada and U.S.,” University of Ghana at Legon, Accra, Ghana, March 14, 2001.
Invited Talk, “Media Coverage of the 2000 [Ghanaian] Elections,” Ghana Center for Democratic Development (CDD-Ghana),
          Accra, Ghana, March 2, 2001.
Invited Talk, “Ghana’s 2000 Elections: The ‘Politics of Absence,’” Ghana Center for Democratic Development (CDD-Ghana),
          Accra, Ghana, February, 20, 2001.
Panelist, “Special Forum on U.S. Presidential Elections 2000,” University of Ghana at Legon, Accra, Ghana, November 21,
          2000.
Invited Talk, “The Role of The Media in US Elections,” Public Affairs Section, United States Embassy, Accra, Ghana,
          October 31, 2000.
Facilitator, “Three’s A Crowd? The Fate of Third Parties in America,” Humanities Institute Salon, Denver, May 4, 11, & 18,
          2000.
Chair and Discussant, “Factors Affecting the Success of Initiatives,” Western Political Science Association Conference, San Jose,
          March 24-26, 2000.
Invited Talk, “The Progressive Myth: Direct Democracy in Colorado, 1912,” Willamette University, February 3, 2000.
Invited Talk, “The Initiative to Party: The Partisan - Ballot Initiative Nexus,” Willamette University, February 3, 2000.
Invited Talk, “Taking the Initiative into the 21st Century,” Colorado Water Congress Annual Meeting, Broomfield, January
          27, 2000.
Invited Talk, “Foundations of the American Political System,” Zhejiang University, Zhejiang, China, October 13, 1999.
Invited Talk, “Trade, Taiwan, Tiananmen, and Theft: Partisanship in US-China Relations,” Fudan University, Shanghai,
          China, October 11, 1999.
Invited Talk, “Republicans, Democrats, and US-China Relations,” The People’s University, Beijing, China, October 9, 1999.
Invited Talk, “US-China Relations and the 2000 Presidential Election,” China Institute of Contemporary International Relations,
          Beijing, China, October 7, 1999.
Invited Talk, “Taking the Initiative: The Role of Money in Ballot Initiatives in the US,” Aspen Community & Institute
          Committee, Aspen, August 10, 1999.
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Facilitator, “Taking the Initiative: The Politics of Direct Democracy in Colorado,” Humanities Institute Salon, May 20, May
          27, & June 3, 1999.
Invited Talk, “The State of Direct Democracy in Colorado,” American Center Series, University of Colorado at Boulder,
          April 9, 1999.
Participant, “TABOR: Today & Tomorrow,” Graduate School of Public Affairs, University of Colorado at Denver, January
          20-21, 1999.
Keynote Speaker, Colorado Water Congress Annual Meeting, “The Initiative Process: What You Need to Know,” November
          10, 1998.
Invited Talk, “The Political Economy of the Bronco’s New Stadium Proposal,” George Washington High School, Reach
          Out DU, October 15, 1998.
Invited Talk, “The Political Economy of the Bronco’s New Stadium Proposal,” Cherry Creek High School, Reach Out
          DU, October 15, 1998.
Invited Talk, “Tax Crusaders and the Politics of Direct Democracy,” Tattered Cover Bookstore, Denver, August 20,
          1998.
Academic Session Leader, “The Politics of Building a New Broncos Stadium,” West High School VIP Program,
          University of Denver, April 17, 1998.
Participant, “Proposition 13 and its Progeny: Is California Suffering from an Excess of Democracy?” Institute of
          Governmental Studies, University of California, Berkeley, April 1-2, 1998.
Moderator, “Politics 101,” Student Forum, University of Denver, March 3, 1998.
Panelist, “Ways to use Technology in Teaching,” Dean’s Luncheon on Teaching and Learning, University of Denver,
          February 20, 1998.
Panelist, “The End of Empire in Ghana, 1957,” The End of Empire: 50 Years of British Withdrawal, Center for
          Teaching International Relations, University of Denver, February 7, 1998.
Moderator, “1996 Candidate Forum,” DU Programs Board, University of Denver, October 28, 1996.
Invited Talk, “Election 1996,” KARIS Community, Denver, October 24, 1996.
Invited Talk, “Faux Populism: Douglas Bruce, Populist Entrepreneur, and the Anti-Tax Moment in Colorado,”
          Humanities Institute, University of Denver, October 17, 1996.
Panelist, “The Federal Budget Battle,” Sponsored by Omicron Delta Epsilon and Pi Sigma Alpha, University of Denver,
          October 2, 1995.
Invited Talk, “US Energy Policy,” Highlands Ranch High School, Reach Out DU, November 10, 1995.
Panelist, “Study Abroad,” Second Annual University Conference: Internationalization at the University of Denver,
          University of Denver, April, 1994.
Chair and Panelist, “African Studies,” Second Annual University Conference: Internationalization at the University of
          Denver, University of Denver, April, 1994.
Panelist, “Public Policy and Work Force Participation: Making the School-to-Work Transition,” Public Policy and Work
          Force Participation Seminar, University of Pittsburgh, September 15, 1993.
Rapporteur, “City$Money Conference,” The La Follette Institute for Public Affairs, University of Wisconsin-Madison,
          February 4-6, 1992.

EDITORIAL/ADVISORY BOARDS/REVIEWER
         Review Board, National Science Foundation, 2016
         Editorial Board, State Politics and Policy, 1999-2007; 2014-2016
         Editorial Board, Election Law Journal, 2012-2016.
         Review Board, American Political Science Association (APSA) Small Research Grant Program, 2004-05.
         Review Board, Fulbright/ American Political Science Association (APSA) Congressional Fellowship Program, 2002-2005.
         Academic Advisory Board, Annual Editions, State & Local Government (Brown & Benchmark), 1995-.
         Sub-Field Editor, State Politics, FirstResearch, 1999-2001.

PROFESSIONAL MEMBERSHIPS
American Political Science Association, 1990-
         State Politics and Policy Section, 2000-
                    President, 2013-2015
                    Executive Council, 2010-2012
         Political Organizations and Parties Section, 2000-
Midwest Political Science Association, 1990-
Southern Political Science Association, 2001-
Western Political Science Association, 1994-
         Local Co-Host, Annual Meeting (Denver), 2003
         Chair, Committee on Membership, Attendance, and Registration, 1998-2000
         Section Chair, State Politics and Policy, 1999 Annual Conference (Seattle)
         Member, Charles Redd Politics of the American West Award Committee, 1999
         Chair, Best Dissertation Award Committee, 1999-2001
Florida Political Science Association (1994-)
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         Section Chair, State Politics, 2004 Annual Conference (Gainesville)

PROFESSIONAL APPOINTMENTS
Research Associate, Ghana Center for Democratic Development (CDD-Ghana), Accra, Ghana, 2011.
Research Scholar, Bill Lane Center for the Study of the American West, Stanford University, 2007.
Senior Research Scholar, Ballot Initiative Strategy Center Foundation (BISCF), Nonprofit 501 (c)(3), Washington, DC,
         (www.ballot.org), 2006.
Board of Directors, Ballot Initiative Strategy Center Foundation (BISCF), Nonprofit 501 (c)(3), Washington, DC, 2000-.
Board of Scholars, Initiative & Referendum Institute, USC Law School, University of Southern California, 2004-.
Senior Research Fellow, Initiative & Referendum Institute, Washington, DC, 1998-2003.
Research Associate, Ghana Center for Democratic Development (CDD-Ghana), Accra, Ghana, 2000-01.
President & Co-Founder, Citizens Institute for Voter Information in Colorado (CIVIC), Denver, CO, 1998-2001.

UNIVERSITY SERVICE
University of Florida
         College/University
         Appointed Member, Latin American Studies Search Committee (Latino Studies), 2014-15
         Appointed Member, Political Science/African Studies Search Committee, 2013-14
         Appointed Member, 20th Century American History Search Committee (History), 2008-09
         Appointed Member, Latino Studies Search Committee (LAS), 2006-07
         Departmental Representative, United Faculty of Florida, 2003-
         Alternate Senator, United Faculty of Florida, 2005-
         State Delegate, Florida Education Association, 2006-
         Elected Member, College of Arts and Sciences, Nominating Committee, 2004-06
         Appointed Member, University of Florida Fulbright Committee, 2003-07

         Department
         Chair, 2017-
         Graduate Coordinator, 2014-2016
         Associate Chair, 2013-2014
         Appointed Member, Informatics Search Committee (Departmental Representative), 2013-14
         Appointed Member, Promotion (Full) Review Committee (Service), Leonardo Villalon, 2011
         Appointed Member, Promotion (Full) Review Committee (Research), Badredine Arfi, 2010
         Elected Member, Chair’s Advisory Committee, 2004-05; 2006-07 (Chair); 2007-08 (Chair); 2010-11; 2012-13
         Elected Member, Chair Search Committee, 2004; 2009
         Appointed Member, Tenure Review Committee (Research), Daniel O’Neill, 2008
         Appointed Faculty Mentor, State Senator Mike Haridopolos, 2008-09
         Appointed Member, Strategic Planning Committee, 2008-09
         Appointed Director, Graduate Program in Political Campaigning, 2007-11
         Appointed Member, Committee to establish Undergraduate Certificate in Political Campaigning, 2007
         Elected Member, Market Equity Committee, 2006-07 (Chair); 2007-08; 2008-09 (Chair)
         Appointed Internship Coordinator, 2005-
         Elected Member, Merit Committee, 2004-05; 2005-06; 2006-07 (Chair)
         Appointed Faculty Mentor, Marcus Hendershot, 2006-
         Appointed Faculty Mentor, Helena Rodriques, 2005-06
         Appointed Member, Ad-Hoc Graduate Teaching Committee, 2005-06
         Appointed Member (Chair), Latino Politics Search Committee, 2004-05
         Appointed Member, Tenure and Promotion Committee (Samuel Barkin), 2004.
         Appointed Member, Mid-Career and Mentoring Task Force, 2004-05
         Appointed Member, Speakers Committee (Chair), 2003-05.
         Appointed Member, Tenure and Promotion Committee (Richard Conley), 2003.
         Appointed Member, Political Science Best Undergraduate Paper Award Committee, 2003-04

University of Denver
         Social Science Promotion and Tenure Committee, 1999-2000
         Joint Ph.D. Program in Religious and Theological Studies, (with Iliff School of Theology), 1999-2002
         AH/SOCS Grade Appeals Committee, 1999-2001
         Phi Beta Kappa Selection Committee, Gamma of Colorado, 1998-2002
         Partners in Scholarship (PINS) Committee, 1997-2000
         AH/SOCS Elected Faculty Committee, 1996-98
         Post-Tenure Review Committee, 1996-98
         SOAR (Summer Orientation), 1997-2000
         Faculty Senate Representative, 1995-1996
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         Study Abroad Faculty Advisory Committee, 1995-2000
         Study Abroad Travel Scholarships Committee, 1995-2000
         Faculty Member, Culture and Critical Studies Program, 1995-2000
         Faculty Mentor, 1995-2000
         Reach-Out DU, 1995-2000
         Advisor, Department of Political Science Honors Program, 1995-1996


MEDIA INTERVIEWS
Quoted more than 1,000 times by the media (newspaper, radio, television) on various political issues, including the New York
       Times, Wall Street Journal, Washington Post, USA Today, Bloomberg, The Economist, Newsweek, Time, CNN, CBS News, Fox
       News, National Public Radio, Tampa Bay Times, Miami Herald, Florida Times-Union, San Francisco Chronicle, Los Angeles
       Times, Chicago Tribune, Boston Globe, etc.
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                        CERTIFICATE OF SERVICE

   I hereby certify that on this, the 16th day of December 2019, I electronically

filed the foregoing EXPERT REPORT OF DANIEL A. SMITH, PH.D. with

the Clerk of Court using the CM/ECF system, which will automatically send

notification of such filing to Counsel of Record:


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                                      /s/ Leslie J. Bryan
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